Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 1 of 102

APPENDIX B
GUIDANCE DOCUMENTS
REMEDIAL INVESTIGATION AND FEASIBILITY STUDY
U.S. OIL RECOVERY SUPERFUND SITE ~— AREA OF INVESTIGATION. 1

The following list comprises some of the guidance documents that are applicable to the Remedial
Investigation and Feasibility Study process. The Respondents should consult with EPA’s Remedial
Project Manager for additional guidance and to ensure that the following guidance documents have not
been superseded by more recent guidance:

U.S. Environmental Protection Agency (EPA) 1987a. “Data Quality Objectives for Remedial Response
Activities.” Office of Emergency and Remedial Response and Office of Waste Programs Enforcement.
EPA/540/G-87/003. OS WER Directive No. 9335,.0-7b. March 1987,

EPA 19876, “Interim Guidance on Compliance with Applicable or Relevant and Appropriate
Requirements.” Office of Emergency and Remedial Response. OS WER Directive No. 9234.0-05, July 9,

1987.

EPA 1988a. “CERCLA Compliance with Other Laws Manual.” Office of Emergency and Remedial
Response. OSWER Directive No. 9234.1-01. August 1988,

EPA 1988b. “Interim Final Guidance for Conducting Remedial Investigations and Feasibility Studies
Under CERCLA.” Office of Emergency and Remedial Response. EPA/540/G-89/004. OSWER Directive
No. 9355,3-01. October 1988.

EPA 1989a, “CERCLA Compliance with Other Laws Manual: Part Il. Clean Air Act and Other
Environmental Statutes and State Requirements.” Office of Emergency and Remedial Response. OS WER
Directive No, 9234.1-02, August 1989,

EPA 1989b. “Risk Assessment Guidance for Superfund, Volume I, Human Health Evaluation Manual
(Part A).” Office of Emergency and Remedial Response, EPA/540/1-89/002. OSWER Directive No.
9285.7-01A. December 1989.

EPA 1991a. “Human Health Evaluation Manual, Supplemental Guidance: Standard Default Exposure
Factors.” Office of Emergency and Remedial Response. OS WER Directive No. 9235.6-03. March 1991.

EPA 1991b. “Risk Assessment Guidance for Superfund: Volume i, Human Health Evaluation Manual
{Part B), Development of Risk-Based Preliminary Remediating Goals.” Office of Emergency and
Remedial Response. OSWER Directive No. 9285.7-01B. December 1991,

EPA 1991c. “Risk Assessment Guidance for Superfund: Volume 1, Human Health Evaluation Manual
(Part C), Risk Evaluation of Remedial Alternatives,” Office of Emergency and Remedial Response.
OSWER Directive No, 9285.7-01C, 1991.

EPA 1992a. “Guidance for Data Useability in Risk Assessment.” Office of Emergency and Remedial
Response. OSWER Directive No. 9285.7-09A. April 1992 (and Memorandum from Henry L. Longest
dated June 2, 1992).
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 2 of 102

EPA 1992b, “Supplemental Guidance te RAGS: Calculating the Concentration Term.” Office of
Emergency and Remedial Response. OSWER Directive No. 9285.7-081. May 1992.

EPA 1997. “Ecological Risk Assessment Guidance for Superfund, Process for Designing and Conducting
Ecological Risk Assessments.” Office of Emergency and Remedial Response. EPA/540-R-97-006. June 5,
1997,

EPA 2006. “Guidance for the Data Quality Objectives Process.” EPA QA/G-4, EPA/600/R-96/055.
August 2000.

EPA 2001a. “EPA Requirements for Quality Assurance Project Plans.” Office of Environmental
Information. EPA QA/R-5. EPA/240/B-01/003. March 2001.

EPA 2001b. “Risk Assessment Guidance for Superfund, Volume | - Human Health Evaluation Manual
(Part D, Standardized Planning, Reporting, and Review of Superfund Risk Assessments). Final.
Publication 9285.7-47. December 2001.

EPA 2001c. “Reuse Assessments: A Tool to Implement The Superfund Land Use Directive.” OSWER
9355.7-06P”, June 2001 available at

EPA 2002. “EPA Guidance for Quality Assurance Project Plans.” EPA QA/G-5. EPA/240/R-02/009.
December 2602.

EPA 2009a. “U.S. Environmental Protection Agency Office of Solid Waste and Emergency Response
Principles for Greener Cleanups” August 2009 available at
hitp://www.epa.cov/oswer/ereenercleanups/pdfs/oswer greencieanup principles. pdf

EPA 2009b. “EPA Region 6 Clean and Green Policy” September 2009 available at
hito://www.cluin.org/ereenremediation/docs/R6GRPolicy pdf
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 3 of 102

APPENDIX C
APPLICABLE OR RELEVANT AND APPROPRIATE REQUIREMENTS
REMEDIAL INVESTIGATION AND FEASIBILITY STUDY
U.S. OIL RECOVERY SUPERFUND SITE — AREA OF INVESTIGATION-1

A preliminary list of probable Applicable or Relevant and Appropriate Requirements (ARARs)
will be generated by the Respondents during the Remedial Investigation and Feasibility Study process.
This list will be compiled according to established EPA guidance, research of existing regulations, and
collection of site-specific information and data. Three types of ARARs will be identified:

1) Chemical-Specific ARARs: These ARARs are usually health- or risk-based numerical values
or methodologies used to determine acceptable concentrations of chemicals that may be found in
or discharged to the environment.

2) Location-Specific ARARs: These ARARs restrict actions or contaminant concentrations in
certain environmentally sensitive areas. Examples of areas regulated under various Federal laws
include floodplains, wetlands, and locations where endangered species or historically significant
cultural resources are present.

3) Action-Specific ARARs: These ARARs are usually technology- or activity-based requirements
or limitations on actions or conditions involving specific substances.

Chemical- and location-specific ARARs are identified early in the process, generally during the
site investigation, while action-specific ARARs are usually identified during the Feasibility Study in the
detailed analysis of alternatives.
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 4 of 102

APPENDIX D
Technical Scope of Work
Area of Investigation 1 - USOR Property
Remedial Investigation/Feasibility Study

US Oil Recovery Site
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 5 of 102

April 17, 2014

INTRODUCTION

This appendix to the Statement of Work (SOW) provides the preliminary technical Scope of Work for the
Remedial Investigation/Feasibility Study (RI/FS) at Area of Investigation 1 (“AOI-1”, also referred to as
the “USOR Property” or “the property”) at the US Oil Recovery Superfund site (the Site). The objective
of the Scope of Work is to evaluate the nature and extent of contamination resulting from operations at
the USOR Property, to obtain information necessary to fill data gaps in the Preliminary Conceptual Site
Model (PCSM) for the USOR Property, and allow the development and evaluation of remedial action
alternatives in the FS. The specific activities and procedures for implementing this RI/FS will be
presented in subsequent work plans described in the SOW.

As described below, this scope of work is based upon the following analyses:

(1) Development of PCSMs for AOI-f (human health and ecological), highlighting those potential
exposure pathways and receptors for which additional data are needed to evaluate the
completeness of a potential pathway and/or the significance of those pathways that are initially
characterized as complete in support of the risk assessment.

(2) Design of an iterative RI characterization program and process that provides the needed data,
including identification of media to be sampled, sample locations and associated analytical
parameters.

(3) Identification of the data needed to complete the evaluation of potentially complete or potentially
significant pathways in the PCSMs, and facilitate evaluation of potential remedial action
alternatives in the FS.

Consistent with EPA’s expectations as noted in Paragraph 2 of the SOW, an “iterative” approach to data
collection will be used during the RI to maximize the overall investigative effectiveness and efficiency
and assist in decision making. Also, consistent with the SOW and the Triad Approach, a streamlined data
assessment and reporting process is proposed for the RFS. The iterative sampling program will start
with the investigation of on-property (defined as the area inside the existing fence at the USOR Property)
soil, groundwater, surface water and sediment and off-property (defined as the area outside of the existing
fence at the USOR Property) soil and groundwater and proceed to off-property sediment, surface water,
and other environmental media as appropriate. This iterative program will use the data collected in
previous phase(s) of investigation to help focus constituents of potential concern (COPCs) and
investigation areas for subsequent sampling efforts. It is believed that this approach will help minimize
the likelihood of making erroneous decisions with data that are difficult to interpret, do not support the
performance or acceptance criteria defined in the RI/FS Work Plan, or do not support the overall project
goal of identifying potential risks associated with past AOI-1 activities.

PRELIMINARY CONCEPTUAL SITE MODELS

PCSMs are presented for human health and ecological pathways as Figures | and 2, respectively.

PCSMs present the current understanding of the type and occurrence of potential contaminant sources and
possible exposure pathways associated with AOI-1. Consistent with EPA RI/FS Guidance (EPA, 1988),
the PCSMs were developed on the basis of existing AOJ-1 conditions (Le., land use, historical process
knowledge, hydrogeology, source areas, COPCs, and existing data). The hypotheses presented in the
PCSMs will be tested iteratively, refined, and modified as necessary as data are collected during the RJ.
The following subsections discuss AO]-1 conditions and available information that are important to
understanding the overall PCSMs and remaining data needs.

D-i
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 6 of 102

April 17, 2014

Current Land Use

The USOR Property is located at 400 North Richey Street in Pasadena, Harris County, Texas, 77506
(Figure 3). The approximately 12.2 acre property was most recently used as a used oil processing and
waste treatment facility by US Oil Recovery LP USOR LP). USOR LP began operations on the property
in approximately June 2003 and acquired the property in December 2003. Prior to 2004, multiple
businesses operated on the property including chemical manufacturing companies (specializing in
fertilizers and/or herbicides/pesticides), a cow hide exporter, leather tanner, and companies with unknown
operations including storage of various hard goods. Attachment D-1 contains a more detailed listing of
the operational history of the property.

The USOR Property was abandoned by its current owner and is now under the custody and control of a
court-appointed receiver. An office building, security guard shack, and large warehouse (approximately
25,000 square feet in size) are present on the property. The warehouse includes a former laboratory,
machine shop, parts warehouse, and a material processing area that included a filter press. Approximately
800 55-gallon drums (some in over-packs) and 212 poly totes (300-400 gallons) containing various
industrial wastes are present within the warehouse. A tank farm with approximately 24 aboveground
storage tanks (ASTs) containing industrial wastes located within secondary containment is located on the
north end of the warehouse. A large, concrete-walled aeration basin (also called the bioreactor) is located
west of the tank farm. A containment pond is located west of the warehouse and south of the aeration
basin. Approximately 225 roll-off boxes fitted with precipitation covers are located on the USOR
Property. An inactive rail spur enters the south-central part of the USOR Property from the south and
extends north along the west side of the warehouse. A utility right-of-way with various pipelines is
present within the southern part of the USOR Property and pipelines are also present outside of the USOR
Property along the eastern and western sides.

Currently, the USOR Property is enclosed within a six-foot chain link security fence with locked gates,
security cameras have been installed, and access is monitored by a security contractor. The USOR
Property was developed for industrial purposes in approximately 1947 and land use has remained
industrial since that time. Land use in the vicinity of the USOR Property includes the following:

North: Undeveloped land that includes high-tension power lines, with Vince Bayou and a heavy
industrial property located further north.

East: Undeveloped land that includes high-tension power lines, with N. Richey Street, Vince Bayou,
and a heavy industrial property located further east.

South: An east-west oriented pipeline right-of-way is located along the southern boundary of the USOR
Property with an east-west oriented railroad line, an additional east-west oriented pipeline right-
of-way, and a heavy industrial property located further south.

West: A north-south pipeline right-of-way with undeveloped land, a City of Pasadena stormwater
detention basin, and a heavy industrial property located further west.

Vince Bayou is located to the north and east of the USOR Property, is joined by Little Vince Bayou to the
east of the USOR Property, and flows to the north and intersects with the east flowing Houston Ship
Channel (HSC) approximately 0.4 miles north of the USOR Property. The closest residential land use is
located approximately 0.08 miles (400 feet) south-southwest of the southwest corner of the USOR
Property. The nearest public park (Light Company Park) is located approximately 0.24 miles (1,300 feet)
south of the southern property boundary. The nearest school (Pasadena High School) is located
approximately 0.5 miles southeast of the southern USOR Property boundary. The PCSMs are based on
the premise that the USOR Property land use will remain commercial/industrial in the future.
Documentation of future use restrictions as an industrial/eommercial property will be provided in the

D-2
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 7 of 102

April 17, 2014

RI/FS Work Plan.

‘Fopography

According to the Pasadena, Texas topographic map (USGS, 1982), the maximum elevation of AOI-1 is
approximately 20 feet above mean sea level (msl) near the Containment Pond. The topography of the
natural land surface generally slopes to the east and northeast towards Vince Bayou where the elevation is
approximately sea level.

Geology

Based on the Geologic Atlas of Texas — Houston Sheet (BEG, 1982), subsurface soils at the USOR
Property are underlain by the Beaumont Formation, which is comprised mostly of clay, silt, and sand and
includes mainly stream channel, point-bar, natural levee, backswamp, and to a fesser extent coastal marsh
and mud-flat deposits. The Beaumont Formation beneath the USOR Property is dominantly clay and
mud of low permeability, high water-holding capacity, high compressibility, high to very high shrink-
swell potential, poor drainage, level to depressed relief, low shear strength, and high plasticity.

Hydrogeology

The Gulf Coast Aquifer is a major aquifer underlying AOJ-1 that consists of the Evangeline, Chicot and
Jasper aquifers, which are composed of discontinuous sand, silt, clay, and gravel beds (TWDB, Report
380, July 2011). The apparent direction of groundwater flow in these units is to the southeast toward the
Gulf of Mexico. in addition to the primary aquifers, groundwater often occurs in sand units in the shallow
subsurface within the Beaumont Formation. These watet-bearing units are not typically used for
irrigation or drinking water due to relatively low yields or poor quality.

Limited previous subsurface investigations at the USOR Property have encountered silty clay, clay, silt
and sand to a depth of approximately 25 feet below ground surface (bgs). Groundwater was observed at
approximately 10 to 12 feet bgs during previous investigations. The apparent direction of groundwater
flow at the USOR Property is to the northeast toward Vince Bayou.

Potential Source Areas and Chemicals of Potential Concern (COPCs)

 

The following potential source areas are present at AOI-1:

1) Drums

2) Aeration Basin (Bioreactor)

3) Sumps

4) Totes

5) Containment Pond

6) Aboveground Storage Tanks

7) Rol-off Boxes/Frac Tanks

8) Impacted Soil (including the former buried waste pit to the west of the warehouse that was
identified in historical documents)

9) Unknown Subsurface Sources (Pits, Sumps, etc.)

10) Pipelines

Removal actions to address potential source areas 1-7 listed above are being developed/implemented

pursuant to the Administrative Settlement Agreement and Order on Consent for a Time-Critical Removal
Action dated August 25, 2011 (“Removal Action AOC”). Due to the nature of the removal actions and

D-3
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 8 of 102
April 17, 2014

the associated field work, there is the potential for interference with the performance of the activities
described in this Scope of Work. Consequently, the Work Plan shall include a schedule that coordinates
the activities described in this Scope of Work so as to avoid any potential interference.

Attachment D-1 provides for AOI-I: 1) general information, 2) ownership and operational history, 3) a
list of historical releases taken from existing documents, 4) investigation history, 5) a list of historical
removal and response actions, 6) potential impacts at off-property areas, and the rationale for sample
locations at AOI-1 that are provided below in this document. Removal actions conducted by the PRP
Group will be documented in separate reports to EPA and TCEQ pursuant to the Removal Action AOC.
It should be noted that remedial actions may be necessary pending the outcome of the RI but, at this time,
those actions have not been identified.

A preliminary list of COPCs has been developed based on historical data for hazardous substances
present at the USOR Property, waste materials previously handled or currently present at the USOR
Property, and analytical laboratory results of samples of environmental media collected from the USOR
Property and nearby off-property areas. Samples were collected by EPA and TCEQ (or their contractors)
during release response actions prior to July 2010 or stabilization activities conducted by EPA. Prior to
July 2010, samples were collected during release-related response actions including samples of liquids
leaking from containment vessels, ponded liquids, and/or impacted soil. After July 2010, liquid, sludge
and solid samples were collected from drums, the bioreactor, sumps, poly totes, above-ground storage
tanks, the containment pond, and roll-off boxes. Samples were analyzed for volatile organic compounds
(VOCs), semi-volatile organic compounds (SVOCs), pesticides, and metals, and Total Petroleum
Hydrocarbons (TPH). As summarized in the Hazard Ranking System (HRS) Documentation Record
{EPA, 2011), VOCs, SVOCs, pesticides, metals, and TPH were detected in the samples and are attributed
to the USOR Property. A review of past industrial operations at the USOR Property and the results of
previous environmental investigations conducted at the USOR Property support the inclusion of VOCs,
SVOCs, pesticides, herbicides, and metals on the initial list of COPCs for the RI. For example, metals
(arsenic), pesticides and herbicides are included due to historic use of the property for the manufacture of
arsenical pesticide products, and the blending and storage of pesticides and herbicides. The COPC list
will be refined after each iteration of the RI/FS as USOR Property data are evaluated such that only those
COPCs that originated at the USOR Property are moved forward, as described more fully below.

Possible Exposure Pathways

The human heaith and ecological PCSMs for the USOR Property (Figures 1 and 2) show the range of
human health and ecological exposure pathways including the primary and secondary sources, the
primary and secondary release mechanisms, the exposure media (i.e., soil, groundwater, surface water,
sediment, air, etc.), and potential receptors. The processes or mechanisms by which receptors may
reasonably come into contact with USOR Property-related COPCs are shown from left to right on the
figure. Exposure pathways are dependent on current and future land use, which is expected to remain as
an industrial land use. An exposure pathway is defined by four elements (U.S. EPA, 1989):

* A source material and mechanism of constituent release to the environment;
+ An environmental migration or transport media (e.g., soil) for the released constituents;
* A point of contact with the media of interest; and
* An exposure route (e.g., ingestion) at the point of contact.
An exposure pathway is considered “complete” if all four elements are present.
Potentially complete human health exposure pathways are indicated with a “C” in the potential receptors

column of Figure |. Potentially complete pathways are assumed to be complete based on existing

D-4
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 9 of 102

April 17, 2014

information. Although a pathway may be preliminarily identified as potentially complete, additional data
are often needed to confirm that the pathway is complete and evaluate the significance of the potentially
complete pathway. The PCSM also identifies possibly complete pathways with a “P” in the potential
receptors column of Figure 1. At this stage of the RI/FS, it is not known whether these media have been
impacted by USOR Property-related activities. Information related to complete and potentially and
possibly complete exposure pathways will be used to identify data gaps and help guide the data collection
effort, ultimately ensuring that sufficient data are collected to facilitate quantitative evaluation of these
pathways in the human health risk assessment. Pathways that are not viable are considered incomplete
and are identified with an “I” in the potential receptors column on Figure 1, most often because the
receptor will not contact the media specified.

Potentially complete ecological exposure pathways are indicated with a “C” in the potential receptors
column of Figure 2. Potentially complete pathways are assumed to be complete based on existing
information. Although a pathway may be preliminarily identified as potentially complete, additional data
are often needed to confirm that the pathway is complete and evaluate the significance of the potentially
complete pathway, The ecological PCSM also identifies potentially complete pathways for which
potential exposures will be evaluated in an iterative manner with a “P” in the potential receptors column
of Figure 2. At this stage of the RI/FS, it is not known whether these media have been impacted by
USOR Property-related activities. Information related to complete and potentially complete exposure
pathways will be used to identify data gaps and help guide the data collection effort, ultimately ensuring
that sufficient data are collected to facilitate quantitative evaluation in the ecological risk assessment.
Pathways that are not viable are considered incomplete and are identified with an “I” in the potential
receptors column on Figure 2, most often because the receptor will not contact the media specified.

In the first iteration of data collection, data will be coflected for the on-property media (i.e, soil,
groundwater, surface water, and sediment) and off-property soil and groundwater using the initial list of
COPCs, The results of the evaluation of the first iteration data will then be used to develop an
investigative strategy for off-property sediment and surface water based on those compounds that were
determined to have originated at the USOR Property. The specific mechanism/criteria for that
determination will be developed in the RI/FS Work Plan. The second iteration of data collection will
include sampling of surface water and sediment in drainage paths leading to Vince Bayou and from
within Vince Bayou (and possibly Little Vince Bayou), with sample locations/collection details and
analyte list developed based on data from the previous investigation iterations. Finally, based on the
evaluation of all previously collected data, sampling of fish and/or shellfish in Vince Bayou (and possibly
Little Vince Bayou) will be conducted during a third iteration, as necessary. It is envisioned that a
streamlined data evaluation and reporting process will be used to move from iteration to iteration in the
RI as efficiently as possible (see details in the RI/FS Data Collection Activities section below). After
each data collection iteration during the RI, the PCSMs presented in Figures 1 and 2 will be updated and
refined as necessary. The iterative approach to the investigation and the streamlined data evaluation and
reporting process are described in greater detail in the following sections.

DATA NEEDS

Based on an evaluation of the exposure pathways identified in Figures | and 2, and an analysis of the
information needed to assess the completeness of these pathways, the data needs listed in Table ] were
developed for the USOR Property. Table | illustrates the data needs development process by: (1) noting
the PCSM exposure medium for exposure pathways that were not judged to be incomplete; (2) identifying
the specific data needed to determine whether that pathway is potentially complete; (3) listing the existing
data that were reviewed as part of RI/FS scoping; and (4) describing the RI activities, approaches, and
data collection methods to be performed to fill the identified data need.

D-5
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 10 of 102

April 17, 2014

A list of general data needs is also included in Table 1 and includes supplemental information needed for
the RI such as land use, quality of habitat, climate, subsurface migration pathways, etc.

FS data needs are not included in Table 1 at this time. As FS data needs are identified as the iterative
RFS process proceeds, appropriate programs to fill these needs will be developed. The development
and evaluation of remedial alternatives will be performed as specified in the RI/FS guidance. First, the
risk assessment findings will be used to develop remedial action objectives. General response actions will
be developed to address these objectives, and preliminary technologies/alternatives associated with those
response actions will be screened. If at any time during this process a data need related to the FS is
identified, a program to collect that data will be developed and implemented.

EXISTING BATA EVALDATION

As noted above, existing data were reviewed and used during development of the PCSMs and the data
needs summary (Table 1).

Existing soil and groundwater data from the USOR Property were compiled into the tables listed below
and attached to this Scope of Work. The soil data tables also contain any data from off-property areas
that were investigated as a result of past releases from the USOR Property. Surface water and sediment
data collected for EPA in 2011 (Weston Solutions, Inc., 2011) from Vince Bayou and Little Vince Bayou
were also compiled since these data have been used by EPA to rank the Site using the HRS. All of the
existing data are used for scoping purposes only and are not intended for use in risk assessment
calculations or as the sole basis for evaluation of potential remedial alternatives in the FS. Sampling
locations for the existing data shown in the tables are shown on Figures 4 and 5.

it should be noted that there are limited historic data for soil and groundwater at the USOR Property.
Furthermore, much of the soil and groundwater data from historical documentation for the USOR.
Property are of limited value due to the fact that much of the data lack the required backup information
such as sample location maps, quality assurance/quality control (QA/QC) data, and/or analytical method
information. Also, the use of older data is limited due to changes in analytical methods, QA/QC
procedures, etc. As such, some data from previous investigations at the USOR Property were not
included in the summary tables for these and other reasons. Finally, laboratory qualifiers (flags) were not
included for all data, Due to the range of different qualifiers used in the data packages, a consistent set of
qualifiers was developed and used for the data summary tables.

The following data summary tables were compiled for AOI-1:

Table 2 - Metals Concentrations in Soil Samples

Tabie 3 — Volatile and Semi-Volatile Organic Compound Concentrations in Soil Samples

Table 4 — Pesticide Concentrations in Soil Samples

Table 5 — Metals and Pesticides Concentrations in Groundwater Samples

Table 6 ~ Metals Concentrations in Surface Water Samples — 2011 Data

Table 7 -- Metals Concentrations in Sediment — 2011 Data

Table 8 ~ Volatile and Semi- Volatile Organic Compound Concentrations in Sediment — 2011 Data

D-6
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 11 of 102
April 17, 2014

DATA QUALITY OBJECTIVES

Data quality objectives (DQOs) (Table 9) are developed as part of the systematic planning process to
define the type and quality of the data sufficient to characterize the USOR Property, conduct human
health and ecological risk assessments, and perform the evaluation of remedial alternatives. The DQOs,
therefore, support the rationale for the USOR Property investigation strategy and approach detailed in the
following section. The data quality details of the DQO process will also be documented in the Quality
Assurance Project Plan (QAPP) that will be developed with the RI/FS Work Plan.

The DQOs have been developed in general accordance with the “Guidance on Systematic Planning Using
the Data Quality Objectives Process, EPA QA/G-4” (EPA, 2006). When data are collected during the
RI/FS, the EPA-recommended systematic planning tool is the DQO process. The DQO process is a
seven-step planning approach to develop sampling designs for data collection activities that support
decision-making. The seven steps of the DQO process described by EPA are:

State the problem.

Identify the goal of the study.

Identify information inputs.

Define the boundaries of the study.
Develop the analytic approach.

Specify performance or acceptance criteria.
Develop the plan for obtaining data.

DES eB WB em

Steps 1 through 4 of the process are included in Table 9 and are discussed below. Steps 5 through 7 will
be developed in the RI/PFS Work Plan and QAPP since these steps are focused on detailed sampling and
analytical processes and are not appropriate for this document. Some of the more important issues related
to the DQOs are described in the following paragraphs.

Step 1; State the Problem

Historical USOR Property information suggests that contamination exists in on-property soil in areas of
former operations, and that COPCs may have migrated off-property during unauthorized releases, spills
and overland runoff following storm events. Previous sampling efforts, historical aerial photographs,
relevant USOR Property information and reports have been thoroughly reviewed to better understand
where COPCs may be on-property, what COPCs are potentially present, and what fate and transport of
these COPCs may have occurred.

Because of the gradual topographic slope at the USOR Property, if COPCs were transported from the
property, they would most migrate from the USOR Property to the east or north, deposit onto the surface
soils in these areas and either remain in those soils or be transported further down-slope. Vince Bayou
surface water and sediment would be the potential endpoint of transport and migration of USOR
Property-related COPCs. Due to the highly industrialized nature of the surrounding area and the
numerous possible point and non-point sources of COPCs in Vince Bayou and Little Vince Bayou
unrelated to the USOR Property, it is difficult to identify the USOR Property-related COPCs without a
thorough and complete understanding of on-property source characteristics and the transport/migration
pathways off-property.

D-7
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 12 of 102

April 17, 2014

Develop the PCSM for the Area of Investigation

The PCSMs introduced above (Figures 1 and 2) convey what is known about the sources, releases, release
mechanisms, contaminant fate and transport, exposure pathways, potential receptors and risks. The
PCSMs were developed based on the review of relevant USOR Property information and with input from
the PRP Group and EPA. Data collected during the RU/FS will be used to verify and revise the models as
necessary. These DQOs were developed using the PCSMs.

Establish the Planning Team

The planning team is composed of project management and technical staff from EPA, TCEQ, identified
Federal and State Natural Resource Trustees (Trustees), the PRP Group, and Pastor, Behling & Wheeler,
LLC (PBW). The Project Team and organization will be described in the RI/FS Work Plan, The project
management section of the RI/FS Work Plan will describe the decision-level authority and
communication. Project management team members have been designated as members of the project
decision-making team and as technical expertise support. Lines of communication are established
between field staff, project management, the PRP Group, EPA, and other agency stakeholders to convey
data from the field to decision makers and to convey decisions back to the field staff.

Identify Available Resources, Constraints and Deadlines

During the systematic planning, several critical field activities were identified. The outcome of these
critical field activities may impact the scope and extent of other USOR Property investigation tasks. The
critical field activities are the on-property surface and subsurface soil sampling, on-property sediment and
surface water sampling, installation of monitoring wells on-property, and groundwater sampling from
these monitoring wells, Based on the data obtained from the on-property field work, additional field
activities will be undertaken in subsequent iterations. These subsequent iterations are anticipated to
include the installation of additional monitoring wells on-property or off-property, groundwater sampling
of these monitoring wells, off-property surface and/or subsurface soil sampling, and collection of
background soil samples. Data obtained from these additional on-property and/or off-property sampling
efforts will be used to focus subsequent off-property sediment and surface water (near the USOR Property
and background), and potential fish and/or biota sampling investigation iterations.

Other practical constraints such as access and physical location that will affect characterization activities
will need to be addressed. The presence of pipelines, utility easements and other AOJ-1 features will be
evaluated and sampling locations may change from the locations identified in this Scope of Work if
necessary, The overall deliverable for the investigative activities at the USOR Property will be the RFS
Report. However, several data assessment meetings (working meetings) will be held with EPA, TCEQ
and Trustees stakeholders to review the RI data as it is collected and prior to conducting the next iteration
of sampling, and develop work plan refinements as needed.

The available resources include the project management, technical staff, and drilling, and environmental
iaboratory contractors. Scheduling constraints of these personnel are not anticipated at this time. USOR
Property characterization will be conducted in accordance with the Scope of Work provided herein and
described in greater detail in the RI/FS Work Plan.
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 13 of 102

April 17, 2014

Step 2. Identify the Goal of the Study

The over-arching goals for the project are to characterize nature and extent of contamination associated
with past USOR Property-related activities, demonstrate whether a COPC originated from the USOR
Property, estimate potential human health and ecological risks from USOR Property-related COPCs, and
design an effective remedial action plan for USOR Property-related impacts.

The review of historical data for the USOR Property was used in conjunction with the PCSMs to develop
the data needs table shown in Table }. This table was used to tie the potentially complete exposure
pathways to the media of concern so that relevant USOR Property data could be collected to support the
goals of the study.

At this point in the DQO process, the principal study questions, actions and decision statements are
developed in a detailed manner for each media to be investigated. The result of these and subsequent
steps of the DQO development process are presented in Table 9.

RU¥S DATA COLLECTION ACTIVITIES

The PCSMs, the conceptual descriptions of RI/FS activities in Table 1, and the DOOs were used to
develop the initial RFS data collection activities and sample locations described below. Historical
information (e.g., maps, aerial photographs, reports and other documentation) regarding potential source
areas, property reconnaissance, and to a lesser degree the limited existing data, were used to guide the
placement of initial investigation locations. Attachment D-1 provides a more detailed discussion of the
rationale for each sample location for on-property media as well as off-property soil sample locations.
These samples were selected in order to optimize the likelihood of detecting potential impacts from the
USOR Property, Relative to a grid-based sampling program, these judgmental samples will likely
overestimate potential risk but this type of sampling will provide a higher degree of confidence in
evaluating whether the COPC originated at the USOR Property. The RI/FS Work Plan and RI Report
will include information related to the sampling scheme and the adequacy of spatial coverage to satisfy
project goals. The number of samples and sample locations ultimately needed to satisfy overall RI/FS
objectives will be determined by the USOR Property conditions and the data obtained during the iterative
phases of the RI/FS. However, consistent with the overarching objective of this scope of work, sample
numbers/locations are proposed herein for the initial investigation phase (i-e., on-property soil,
groundwater, surface water and sediment sampling and off-property soil and groundwater) to fill the
identified data needs.

As noted previously and as illustrated by the PCSMs, data needs summary table (Table 1), and DOOs,
investigation activities will initially focus on on-property environmental media (i.e., on-property soil, on-
property groundwater, on-property surface water and on-property sediment) and off-property soil and
groundwater. An iterative approach is proposed as the logical and effective and time-efficient manner
for which the R] should be performed. This is due to the nature of the USOR Property where the source
areas are located topographically higher than some of the potential receptors and potential impacts are
primarily related to the movement of COPCs from the USOR Property to the receptors via surface
drainage. Furthermore, receptors in Vince Bayou and Little Vince Bayou also are potentially impacted
from the other documented industrial activities within the Vince Bayou and Little Vince Bayou
watershed. In this regard, the determination of the impacts from the USOR Property, versus those from
other sources of contaminants to Vince Bayou and Little Vince Bayou, must be carefully executed
through the iterative progression of investigation activities beginning on the USOR Property and adjacent
properties and working to Vince Bayou and including a comprehensive background study for media of

D-9
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 14 of 102
April 17, 2014

potential concem. This method will allow for the allocation of the relative contributions of COPCs to

Vince Bayou and Little Vince Bayou among the multiple potential sources.

A data assessment meeting will be held after completing the data collection for each iteration to review

the data, prior to proceeding with the next iteration of sampling. The iterative data collection program is
described more fully below:

 

ITERATION | DESCRIPTION

 

i AOI-] on-property media (soil, groundwater, and surface water/sediment in the
low-lying areas on the southwestern portion of AOI-1} and off-property soil and
groundwater will be sampled and analyzed for the initial list of COPCs (metals,
VOCs, SVOCs, pesticides, herbicides, and TPH) per the RI/FS Work Plan
Sampling and Analysis Plan (SAP) and QAPP. After data validation, the sample
concentrations will be compared to the screening criteria for that medium to be
developed in the RFS Work Plan to determine whether the compound
originated at the USOR Property. Data assessment tools (summary tables, maps,
GIS data visualization, etc.) will be used to assist in making this determination.
A working “data assessment” meeting will be held with the EPA, TCEQ and
Trustees stakeholders where the data are reviewed and decisions are made
regarding: 1) COPCs that will be carried forward and COPCs that can be
eliminated from subsequent iterations of the RI/FS; and 2) locations of off-
property surface water and sediment samples for the second iteration of the
RIFS. A Work Plan Refinement Notice (WRN) with the agreed-upon
recommendations for the next iteration of sampling will be prepared for EPA
approval. Upon receiving EPA approval, the specific activities proposed in the
WRN will be initiated.

 

2 AOI-1 off-property surface water and sediment will be sampled and analyzed for
the COPCs that were carried forward from the first iteration of sampling. After
data validation, a working “data assessment” meeting will be held with the EPA,
TCEQ and Trustees stakeholders where the data comparisons are reviewed and
decisions are made regarding 1) COPCs that will be carried forward and COPCs
that can be eliminated from subsequent iterations of the RI/FS based on whether
that COPC originated at the USOR Property; 2) methods and locations for
collection of fish and shellfish samples (if necessary) from Vince Bayou (and
Little Vince Bayou, if needed) for the third iteration of the RI/FS; 3) other
sampling and analytical considerations, etc. A WRN with the agreed-upon
recommendations for the next iteration of sampling will be prepared for EPA
approval. Upon receiving EPA approval, the specific activities proposed in the
WRN will be initiated.

 

 

3 Prior to sampling fish and shellfish, sediment and surface water will be
evaluated to determine what COPCs should be included in the fish/shellfish
sampling program per recommendations and procedures identified in TCEQ,
2002, which is largely based on EPA procedures for evaluating potential impacts
from the fish ingestion pathway when establishing surface water quality
standards. Fish and shellfish will be sampled and analyzed for the COPCs that
were carried forward from the second iteration of sampling. After data
validation, the sample concentrations will be compared to the screening criteria
for that medium to be developed in the RU/FS Work Pian or subsequently. A
working “data assessment” meeting will be held with the EPA, TCEQ and
Trustees stakeholders where the data comparisons are reviewed and decisions
are made regarding the need for subsequent sampling for any media.

 

 

 

D-10
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 15 of 102

April 17, 2014

Given that the number of samples, the locations of the samples, and analytes to be measured in the
samples for the off-property sediment, surface water, and biota cannot be determined until after the on-
property media and off-property soil and groundwater data are evaluated, locations for off-property
sediment, surface water and biota sampling activities that are described in the following sections and
presented on the attached maps are subject to change. Detailed descriptions of the RJ data collection
activities will initially be provided in the RI/FS Work Plan, the Field Sampling Plan (FSP) and the QAPP
as specified in the SOW. These plans will include descriptions of data collection activities for all
iterations of the RI/FS. In other words, even though a particular media will not be sampled in the first
iteration of the RI/FS (¢.g., off-property sediment), the proposed methods for collection of those particular
media samples will be included in the RI/FS Work Plan. The specific locations, analytes, and other
specific information required for data collection in iterations two and three will be provided in the WRNs.

A comprehensive soil, sediment, and surface water background study (and biota if necessary) will be
conducted to provide information related to whether a COPC originated at the USOR Property. Detailed
information related to this study will be provided in the RI/FS Work Plan after additional research of the
surrounding area and discussion with EPA, TCEQ and Trustees stakeholders on appropriate background
reference areas.

Additional information that becomes available before or during the RI/FS will be considered and the
investigation plan updated, as appropriate (¢.g., the addition of sampling locations at the location of a
previously unknown release). Also, field observations made during the field investigation will be used to
guide additional investigation efforts and/or sampling, as appropriate.

General Investigation Activities

As shown in the General Data Needs section of Table 1, general investigation activities will be conducted
and are related to the 1) potential presence of threatened and endangered species in the USOR Property
vicinity; 2) subsurface utilities present at the USOR Property and off-property areas; 3) erosion potential
of soils; 4) climate; 5) zoning and land use; 6) location of the flood plain; 7) historic USOR Property
ownership activities, deed records, restrictive covenants, or deed notices; and 8) presence of ecological
habitat. In addition, a water well records search will be conducted to identify registered water wells
located within “42-mile of the USOR Property. A walking survey of immediately adjacent properties will
also be conducted to identify the potential presence of un-registered water wells,

Analytical Methods and Analytes

The historic USOR Property ownership, information about past releases and operations at the property,
previous environmental sampling conducted to-date at the property, and waste sampling conducted during
emergency response activities indicate that various metals, petroleum hydrocarbons, pesticides and
herbicides, several VOCs and SVOCs have potentially impacted AOI-1, Based on the COPCs described
above, samples for the first iteration of data collection will be analyzed using the methods listed in the
following table:

  
  

    

 

Target Compound List (TCL)

 

 

 

 

 

VOCs USEPA Method 8260B
SVOCs USEPA Method 8270C TCL
Metals USEPA Methods 6010B/7471A | Toxic Analyte List (TAL):

 

 

 

" Aluminum, antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead, magnesium,
manganese, mercury, nickel, potassium, selenium, silver, sodium, thalHum, vanadium, and zinc.

D-11
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 16 of 102

 

 

 

 

 

April 17, 2014
Pesticides USEPA Method 8081 TCL
Herbicides USEPA Method 8151A Per SW 846 Method
TPH TX 1005 Per TX 1005 Method

 

 

 

Based on the information provided in the Evaluation of Analytical Data Collected for PCBs and
Dioxins, dated November 19, 2013, these two classes of contaminants are not included in the list of
COPCs for USOR Operations. However, if additional sources of PCBs and dioxins are discovered then
this decision will be revisited.

The COPCs for off-property sediment, surface water and biota will be developed based on the results
from the previous iterations of the investigation and whether the COPC was shown to originate at the
USOR Property. Sample collection techniques, analytical method details, and other analyses that will be
conducted on selected samples (¢.g., total organic carbon, total dissolved solids, bulk density, grain size,
etc.) will be described in detail in the FSP and QAPP to be submitted with the RI/FS Work Plan.

AOI-1 On-Property and Off-Property Soil Investigation

The AOI-1 on-property soil investigation will be performed as described in the following paragraphs:

Soil Borings

Proposed soil boring locations are shown on Figure 6. The locations of soil borings are based on review
of historic documents, historic aerial photographs, and AOI-1 reconnaissance observations. More
specifically, the locations coincide with one or more of the following:

1) Locations of past industrial activities (e.g., railroad spur, loading/unloading pads, former tanks,
pipelines, etc.)

2} Locations of current industrial activities (roll-off boxes, bioreactor, etc.)

3) Areas of stressed vegetation;

4) Areas of disturbed soil (as suggested by historical aerial photographs and reconnaissance
observations);

5) Locations of historical releases including those described in the HRS documentation and as
summarized in Attachment D-1 to this Scope of Work;

6) Previous soil boring location indicating potential contamination;

7) Historic areas of stockpiled material based on aerial photographs; and

8) Areas that appear to receive dramage from USOR Property source areas.

Some of the off-property soil sample locations correspond to historic potential source areas (e.g., the
bioreactor release location to the north of the USOR Property), areas of disturbed soil, or areas of
stockpiled material. These locations and rationale for soil sample location are discussed in greater detail
in Attachment D-1. Preliminary locations shown on Figure 6 are subject to revision based on the data and
information collected during the investigation.

AU soil borings will be advanced to the top of the uppermost water-bearing unit (anticipated to be
approximately 10-15 feet below ground surface) for characterization of surface and subsurface soil and
the collection of soil samples. Discrete soil samples will be collected for laboratory analysis of the initial
list of COPCs (VOCs, SVOCs, metals, pesticides, herbicides, and TPH). Samples will be collected from
the following intervals:

e Surface (0.0-0.5 ft. bes);

D-12
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 17 of 102

April 17, 2014

¢ Shallow (0.5-5.0 ft. bgs) - actual sample interval will be selected from the 0.5-5.0 bgs interval
based upon field conditions including visual evidence of contamination, organic vapor meter
(OVM) measurements, etc. or from 4.0-5.0 bgs if no evidence of contamination is observed.

* Subsurface (greater than 5.0 ft.) — actual sample interval will be selected from the greater than 5.0
ft interval based upon field conditions including visual evidence of contamination, OVM
measurements, etc. or from the one-foot interval above the saturated zone if no evidence of
contamination is observed.

The specific sample intervals will depend on the location and purpose of the particular sample. At
locations based on the presence of a current or historic source area or evidence of industrial activity
(shown in red on Figure 6), samples will be collected from all three sample intervals listed above. At
sample locations along drainage pathways (shown in blue on Figure 6), samples will be collected from the
upper two intervals (surface soil, shallow soil).

Selected representative soil samples will be analyzed for potential fate and transport parameters (total
organic carbon, bulk density, etc.). A detailed description of the program for soil sample analysis will be
presented in the RI/FS Work Plan, the FSP, and the QAPP.

Given the characteristics of AOI-1 (i.e., unconsolidated sediments, shallow depth to groundwater, etc.), it
is anticipated that soil sampling will be conducted using direct-push technology (DPT) (i.e., geoprobe).

During the soil investigation, an evaluation of AOI-1 characteristics (e.g., presence and quality of
vegetative cover, soil type, etc.) will be performed to qualitatively evaluate the potential for erosion of
soils.

The soil boring and the Groundwater High Resolution Site Characterization (HRSC) (EPA, 2003)
program (see below) will be conducted prior to the investigations of the other on-property and off-
property media, Data and observations from the soi] sampling program may be used to revise the
subsequent media investigations described in the following section. For example, if field observations
during soil sampling activities indicate the presence of non-aqueous phase liquids (NAPL) at AOI-1, the
locations and/or quantity of monitoring wells and/or the methods for well construction may be altered,
Additional discussion of this issue and detailed procedures for the on-property and off-property sampling
program will be presented in the RI/FS Work Plan, the FSP, and the QAPP.

AOI-1 On-Property and Off-Property Groundwater Investigation

As shown on Table 1, the AOI-1on-property and off-property groundwater investigation will be
performed as described in the following paragraphs.

High-Resolution Site Characterization

Concepts of the HRSC will be incorporated into the on-property groundwater investigation, as appropriate
based on AOI-] conditions. Initially, a series of vertical subsurface profiles using cone penetrometer
testing (CPT) and/or the rapid optical screening tool (ROST) will be conducted perpendicular to the
direction of groundwater flow (presumed to be to the northeast toward Vince Bayou, based on previous
investigations at AOI-1) (Figure 6). These profiles will allow for the collection of a large amount of
subsurface data in a short period of time. The CPT/ROST locations will be advanced to the base of the
uppermost water bearing unit. Although limited information is available on the subsurface stratigraphy, it
is likely that the uppermost groundwater bearing unit is no deeper than 30 feet bgs. The maximum depth
of the CPT/ROST investigations will be 50 feet. At most of the transect locations, only the CPT tool will
be advanced to provide stratigraphic information (i.e., soil type — sand, silt, or clay). At locations in the

D-13
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 18 of 102

April 17, 2014

central part of the USOR Property around the warehouse, the CPT and ROST tool will be advanced. The
ROST tool provides information on soil type and the potential presence of NAPL in soils. If evidence of
significant contamination is observed at any location (e.g., the presence of NA PL), advancement of the
CPT/ROST tool will be halted. If evidence of significant contamination is not observed, the CPT/ROST
boring will continue until the base of the uppermost groundwater bearing unit.

The CPT/ROST borings will be ground-truthed using DPT soil borings. After review of the CPT/ROST
data, DPT borings will be conducted at a subset of the CPT/ROST boring locations. For the DPT borings,
soil will be collected for visual inspection for the entire length of the boring. Furthermore, the

CPT/ROST borings will be completed prior to the on-property soil investigation described above.
Information from the CPT/ROST borings may be used to revise the locations, sampling intervals, etc. for
the on-property soil borings. Use of CPT/ROST is not currently proposed for the of f-property
groundwater investigation but could be added based on the CPT/ROST results from the on-property
groundwater investigation.

Additional HRSC techniques will be evaluated as the investigation proceeds. For instance, the collection
of depth-discrete groundwater samples using multi-level sampling tools may be proposed if distinct
multiple groundwater bearing units are observed, or if the groundwater-bearing units are of significant
thickness.

Information from the HRSC techniques, in conjunction with information from the monitoring wells
(stratigraphy, water levels, etc.) will allow for assessment of the potential hydrogeologic connection
between USOR Property groundwater and Vince Bayou.

Detailed procedures for the groundwater HRSC program will be provided in the RI/FS Work Plan, FSP,
and QAPP.

Monitoring Well Installation and Groundwater Sampling

The on-property soil sampling and groundwater HRSC programs will be used to determine the locations
for permanent groundwater monitoring wells to be installed in the uppermost groundwater bearing unit at
AOI-1 (Figure 6). If possible, soil borings will be converted to permanent monitoring wells at the
locations where soil boring and monitoring well locations are co-located (Figure 6),

Afier development, samples will be collected from the monitoring wells and analyzed for the initial list of
COPCs. Samples from selected monitoring wells will be analyzed for general or natural attenuation
parameters such as cations/anions, total dissolved solids (TDS), etc. Groundwater field parameters
(temperature, specific conductance, pH, dissolved oxygen (DO), oxidation-reduction potential (ORP),
etc.) will be measured during sample collection at all monitoring wells. Samples will be collected for
total and dissolved concentrations of selected metals.

Groundwater sampling events will be conducted to assess seasonal variability (e.g., sample quarterly for a
year, evaluate results, and then determine appropriate monitoring program frequency).

All wells will be surveyed by a professional land surveyor to determine spatial (X-Y) coordinates and the
elevation above mean sea level of the top of the monitoring well casing (Z).

Ata minimum, a water-level measurement will be recorded from each well prior to it being sampled.

Separate water-level measurement events not associated with groundwater sampling may also be
conducted. If NAPL is encountered, an in-well NAPL thickness measurement will be performed.

D-14
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 19 of 102

April 17, 2014

The results of the on-property groundwater investigation will be used to 1} determine the need for the
investigation of deeper groundwater at AOI-1; and 2) guide off-property groundwater investigation
activities. If necessary, these investigations will be conducted during the off-property soil investigation
(i.e., the second iteration of investigation).

Detailed procedures for groundwater monitoring well installation and sampling will be provided in the
RUFS Work Plan, FSP, and QAPP.

Hydraulic Testin:

Hydraulic testing (slug testing) will be conducted in selected wells to estimate the hydraulic conductivity
of the groundwater bearing unit(s). These data will be used to establish groundwater classification (in
conjunction with TDS concentrations), estimate groundwater flow velocities, contaminant transport, etc.
Detailed procedures for hydraulic testing will be provided in the RI/FS Work Plan, FSP, and QAPP.

AOL1 On-Property Sediment Investigation

Samples of sediment and will be collected from the two areas at the southwest portion of the USOR
Property as noted on Figure 6. The samples will be analyzed for COPCs and other parameters such as
TOC, grain size, etc. Sample collection methods will be described in the RI/FS Work Plan, FSP and
QAPP.

AOI-1 On-Property Surface Water Investigation

Samples of surface water will be collected from the two areas at the southwest portion of AOI-las noted
on Figure 6 (if present). The samples will be analyzed for COPCs. For the metals, analysis will be
conducted for total and/or dissolved concentrations depending on the specific COPC (and as designated
by the ecological benchmark table). Collection of samples from these areas depends on conditions during
the investigation since these areas likely do not always contain standing water. Sample collection
methods will be described in the RI/FS Work Plan.

AOI-1 OFfProperty Surface Water and Sediment Investigation

A program for the evaluation of COPCs from USOR Property-related activities in Vince Bayou (and
possibly Little Vince Bayou) surface water and sediment will be developed ina WRN, As shown on
Table 1, information on the watershed flow paths, surface water/sediment hydrodynamics, and other
potential sources of COPCs to Vince Bayou and Little Vince Bayou will be reviewed during the
development of this program. Surface water and sediment samples in Vince Bayou and Little Vince
Bayou will be collected, as required, for analysis of COPCs retained from earlier iterations of the RI/FS.

USOR Property Fish/Shellfish Investigation

Sampling of fish, shellfish or other biota in Vince Bayou (and Little Vince Bayou) may be conducted if
the results of previous RI/FS data collection iterations show that USOR Property-related COPCs are
present in surface water and/or sediment at concentrations above screening levels or if bio-accumulative
COPCs are present above applicable thresholds. A WRN will be developed that describes the appropriate
species for sampling, the methods for sampling, the COPCs to be analyzed, etc.

D-15
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 20 of 102

April 17, 2014

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D-16
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 21 of 102

TABLES
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 22 of 102

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*APLATIONPUOD

  

 

 

 

 

 

 

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T NOLLVOLLSAANT 40 VaUV — ALMAdOUd YOSN ~ ALIS GNNANAdNS HOSN
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 23 of 102

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1 NOLLVOLLSTANT 4O VAUV ~ ALWAdOUd HOSA ~ ALIS GNOAWadNS HOSA
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 24 of 102

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tT NOLLVOLLISAANI JO VaUV — ALWAdOUd WOSN — ALIS GNAMAdAS WOsn
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 25 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 26 of 102

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TE NOLLVOLLSAANI JO VauV — ALWAdOUd HOSA — ALIS GNAAAdAS WOSa
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 27 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 28 of 102

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tT NOLLVOLESAANI AO VANV ~— ALYAdOUd AOSA — DLS (NOANAdAS HOSA
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 29 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 30 of 102

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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 31 of 102

Case 4

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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 32 of 102

Case 4

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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 33 of 102

Case 4

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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 34 of 102

Case 4

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 35 of 102

Table § - USOR Area of Investigation 1
Metals and Pesticides Concentrations in Groundwater Samples

 

 

 

 

 

 

 

 

 

 

 

 

 

 

; Date Arsenic Copper alpha-BHC | beta-BAC | delta-BHC gamma-BHC
Lecation Sample 1D
Sampled (mg/L) (mg/L) (mg/kg) (mg/kg) (mg/kg) (mg/kg)
199], Espey, Houston & Associates (Prelimmary Asssessment, Ref 19) ae - ST , me on
[B-1 {B-1 L.9/30/1991 | 5.77 | O17 [0.00008 J 0.00022" | <0.006 [00004
Notes:

 

i. <= not detected above reporting limit
2. Only compounds detected in at least one sample are included in this table,

Page | of 1
14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 36 of 102

Case 4

 

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 37 of 102

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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 38 of 102

Case 4

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 39 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 40 of 102

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id. LS OOFG

 

IOV YOd SAAILO SHO ALITWNO VLVO - 6 FIAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 41 of 102

L Jo ¢ oBeg

 

*SOdOD Jo sisAjeur 10) 1ayem Fuipuers ur sopduuws ssyem sovpins yoaT]OD
‘Taye Suipueys JO UITWO sziajowseyo O} Alessaoau vyep 399]f0D
‘Joye dougns Ayodoid-vo joudun 0} jENUsjod ayy savy Jo Davy yey soseajau/sijids oLopsiy Joypue Surosguo Ayuapy

sinduy
uOnEUMOFU Apuapy “¢

 

‘Apaiuiad p
f0 uo}aa]a8 40 JUaUSSESsD JOUOTIPpD JuD4LEDM (il 40 ‘Apowiad D f0 uo}oa]a8 40 uoLPHIOAa aoypinf ou aamnba.s (1 Asadoig YOSN oy
fo suottiod joy) Puautuoras 0} 2.40 SuouSsanb Apnys jodioutsd ayy fo uONjOSas ays WO.‘ ]INSA4 pono? oY) sUOTIID BALOUAAYID OY f

SUOIpYy
DANCLISIY Suljaq ‘Gz

 

Jlesaud st soyem sovzins Apadoud-uo aroym seare ul jeyiqey ayy Jo sinzeu dul SI BUA

(Joe soupins Aadoid-vo jo Aysiueys yerouad ayy st yA,

{Stoidaoai pearTojO3e 40 YITBaY

UBLUNY 0} YSH o(qeydedoeun ue asod Ayisdoig YOSN ai Jo uorod jsomunos ayy UT saIeM soBpNs Apadosd-uo UI sGO9 Od

ai cs

‘|

 

suonsand) Apnig
jedroutid aul Apnuapy “ez

 

YALV AM FOVAANS ALYAdAOUd-NO T-IOV

(QVIA AHL AO ALIMOLVA AHL YOA ANASTUd ST MALVM HOVAMOS FUTHM I-lO¥ AO SVAXV LSAMHENOS)

 

“BOA
ay Jo Aptofeu oj 107 Suipuels 1oyem YM seo ot} JoJ auOZ sanoe AleatFoforg ay} st swwaupas asayy Joy pun Sudures ayy
“ABayzed sii Joy wisouos jenuajod yo srojdases Ou) MOYS SIISOd FELL

‘Ausdoid yYOSN
SU} JO UoILOd JsamyINOS 94} UE Seare SUuLA|-~MO} 94) UIYIIM PouTe]UOS sjuaUNpas oy) aue yoofoud ayy Jo sauepunog jeneds ay E

Apnis ou yo

_Salepunog oy) Apnuapy “p

 

‘Ayodorsd-uo sayem Zuipueys Jo seore woy sejduies uautpas 399]]09
“Woupas Apodoid-uo yoeduil 0} yeyuazod ayy aavq Jo advy yey} saseajau/sijids oL10}sTY J0/pue SuroSuo Ajuuopy

sinduy
UOIFEULIOJUy ApWOp] ¢

 

‘Apautad D
{0 HOYIA[AS 40 WSUSSASSD JOUGHIPPO JUDLIOM (it 40 ‘Apauas D f0 UOLOR/a8 10 “OUPNIDAa tayLnf ou aanbas (1 Gaadodd NOS) out
fo suoysod joy} puauiuiore.s 01 aap suoysanb Apnis jodioutad ay] fo uonnjosas ay] MOdf ASAI PINOD jOY) SUONIAD BALIDUABITO diy J

suonsy
SAHRA QUO “GZ |

 

EWosaid SI JUSLUIpas a1ayM Sear UL IeYGeY JO aMywU oy) St BUA,
{Stojdadas jeorFojoos 1o yyeoy UELAY OF ysl ajqeydoooRUN Ue sod yusurrpes Ajiadoud-uo ur s9gQa og

Tc
‘T

 

suonsen?y Apays |
jedioulag ol Ajnuapl ‘eZ

 

 

ANFATCAS ALYAdOUd-NO T-TOV

(QVAA AHL AO ALPIOLVW TAL HOA LNASTAd ST MALVM FOV 4S THAHM [-1O¥ 40 SVAIV ISAM LAOS)

 

T-IOV YOd SAALLIALdO ALIIWNO VLVd - 6 TIAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 42 of 102

L JO p 98Rg

 

“UOISTUIUE DO A JOOPU! JO] JayeMpunoss pur ios soepinsqns pajorduit

PUP SUOISHUS DOA JO} GoRpnsqns ‘UOHRIoUaS ysnp sadn] JOY [los doRjins oq [fim ABMUed sty} JO} YUN Suljdenes ay,
‘ABmyyed siy} Joy ussduOD yeUaiod Jo sucjdesdel au) MOYS SIYSDd aU

“JAVEMPUNOIS pu [IOS Jo Bare paydayye are yoofoid oy] Jo sarzepunog jeneds oy],

Apmas ayy jo
salepunog ayy Ajquap| “p

 

“te Ayodoid-jjo pue Auedoid-uo us isnp aani3ry pue spuncdusos otued1o ayeyoa Jo suoIssIUtS
fenuejod japout 10 ayeuayss 0} UoTeULOZUT dIff93ds-{-jOVW pue Byep UONRIUIOUOS dO] Jelempunoss pue ji0s Auedosd-uo as]

qd

sinduy
UOTRULIOFUY ApWBAPY “¢

 

‘Apauiaa D
#0 uO}2a]28 40 jUALUSSassP joUOYIppo jub.iDK (N40 ‘Apaiuas p fo uONIa{a8 40 UOLONDAS saypanf ou eainbaa (1 Aisodoig YOS/) Uf}
fo suoysod joy) puautuoras 01 aad Suoysanb Apnys podioutad ayy fo uoynjoses ayi wodf YNSA4 PInOd IY] SUOTIOD aaljpuUsayfD ay f

suonNDy
SALPOMLION W SULPIC] “GZ |

 

£(4fe JOOpur se Jam Se He JUAIqUIR LOOpINO) suCHeUEDUOS Ie Apadoid-jjo pue
“U0 Jaye BE [LISopoloajawy [woo] pue ad jlos “19ACo SARITA Jo AyTenb pue souasaid oyy se YONs soNsLis}RIEYO OP MOL
ZUOHR|BYUl BIA Yypeay UUENY Of sli opquidaooeun ue asod ssyempunord 40 los Auadoid-jyo pue Ayadord-uo ut s9gGd oq

suoysan?y Aprys
fedioulg out Aptuopy "ez

 

ay ALADAAOUd AAO ANV ALYAdOUd-NO

 

 

“JOTEM.
BUIPUE}S DU] FO WOHOG ay} pue soBJ.INs ayy UDSMIOq AeMylEY ApoyeuTXoidde yAdap k si JayeM BORING 10F pun Suydues ayy
“‘ABMUYEd SIU} 1OJ WisdTOS yenUAIOd Jo siojda004 ay] MOYS SAISOd OU

“FOIE,

Surpueys yum ALadold YOSN 24} JO woryod ysamiginos ayy ye eoze SurAj-moy sy) que poafoid oy jo satepunog yereds ayy

 

ApNys ayy Jo
SOLE punog ou) APAp] +p

 

LiOV WOd SHALLOAFAO ALFIVOO VIVO — 6 TIAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 43 of 102

£4ocadeg

 

Apalua. p fo UaTIa]aS 40 JUAaWUSSASSD [OUOTIPPH Juv.LIDM (11 40 ‘Apautas p fo uol}oafas 40 LOYDNIDAA soypin{ ou aanbas (1 [-1OF¥
fo suoydod poy} puauuuoras of aap SuoHsenb Apnys jodjoutid ayy fo uonnjosas ay) WO.uf )NS24 pnd JOY) SUOTOD aalDUsy]O ay f

suouoy
SATBWITY DUO ‘GZ

 

cies

Znodeg SoulA S[UIPT pue nodeg douLA UE SONSLIO}EIeYO MOY JsieM S98LIns ou) Aue EYAL

éiuosaid s} oye sonpins Ayiadoid-jjo a1oy sade WL yEVGRY auy JO saMyeU SUF SE IBY

(Aaqem aoepins Apodoid-jjo ary Jo sasn payeroosse ay) ae jyM pue UISeg-qns paysasyem SY SE IY A,

é(seare punoudyoerq ul pure [-[Oy feu) Joyem soBjins Jo Ausiuays jerauad ayy si RU AY

{Slojdasal [EASoJOss 10 YIjeay UBUNY O} ySLI apqe;daooeUN ue asod sease punosTyoeq UF IyeM SoBpNS Ul SOdOO Od
jsioidsoai

(Boldo]ooa 20 Yes weuiny 1 ysi1 ajqeydaooeun ue osod noAeg s0uL A 3TUFT] pue nokeg SULA UL JOIVM SORES UI SOdGOD Cd oT

 

suonsand Apmis |
fedioung amp Apriuapy “ez

 

YALE M AIVANDS ALYAdONd AAO

 

‘powesAsoAd! Tursq woue [[OS 913 Jo ainyeu ou] uo Buipuadap ‘auoz

poreunjes ayj jo doy ayy 01 S8q “Ye ¢ pure “sdq yy ¢ 04 oO ‘“(sBq) soepns punold moleq 329} 5G 01 Q SI [Los 10} lun Sutjdeues ay
“Aemujed siyy 10j usouce jeruajod Jo siojdeeas ay) MOYS SIISDqd SUL
“nodeg aol 4, 03 Suipusixe Auadoid yYOQs/ ip Jo apisino fios Ayadosd-yo oui are yooloid ayy Jo sauepunog yeneds ayp oe

Apis 34} Jo
SdLIBpUNOG 34} ASAP] “p

 

‘jlos Ayiadoad-jyo yorduat oy pexpuajod ouj savy 40 aay yeIy sasealaa sypids o10ys1y JoypuR Fuiosuo Apyuspy “py
‘sAUmipied aseureip Jaq sovins yenuciayid pue Aydeidodo} ayenpeagq “¢
“Coa ‘ozis ureis ‘QOL ‘Hd) evep Ansinuays jos possuad yoayjoy = -z
“poyeFASIAUL SUIDG BAIE [LOS 94} JO sInyeU oly UO Surpuadap ‘(s¥q y ¢ wey Jeyars) 108 aovjnsqns pure (sq
HS 08 $-Q) Spios MoTEYs “(s8q Y ¢'9 OF QO} {10s eoejins Ayadoid-jjo yo sojdues ul sO gQD Jo 1WayXa UsIVISA pur fesoyey cienpeaq] “7

sindy
voneuuojuy Apuapy ‘¢

 

‘dpauiad D
JO UOYIA}IE 40 JUALUESSASSD |DUOTIDpY juD.LiOM (it 40 ‘Apautas p fo uoTIa}as 40 uONONJDAD sayjing ou aamnbas ( AlsedO4g MOST] aYi
fo suojiod jy} puaunuosas of asp suoysanb Apnys podiourad ayy fo uolnjosad ayy woaf ynsad pynod joy) SUOTIID adrDUsayO ay J

sucHoy |
SAHRUFOTTY SUA] “QZ |

 

QBore Ayadoid-jjo 9yj ut susayed aSeurerp your soepins ame yey,

[LOS UF HOBAysaNbas 40 UOHEZIQoU GdOOD 30 JoRdUT afEN VAD OF SATsUdISuAEYDS FLOs FeldN|T 94) J7e TEU A,

EMOHR[BYUL BIA Ipesy URUNY OF SL ojqeuidazoRuN ue asod sayemMpuNo!s Jo pros Auedoid-jyo pue Apadord-uo ul sagQo od
éS40\dada1 jBIGopOIs 40 yWPeaY uBUINY O4 Ystd oyqeydsooeun ue asod jlos Apadord-po ui s9dQD OCI

om ed ot

 

suonsen(y Apr |
jedioulig aig Aynuepy “eZ

 

 

HOS FOVAUAS ALYAPONd- ALO

 

E-IOV WOd SHALLOALAO ALYTVNO VLVG ~ 6 ATAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 44 of 102

1 {09 98g

 

‘jUSTHIpas
punolsyoeq pue nodeg soul, apy] pur nodeg s0ui A Ul DUO aatoe AppedrSojoig a1) SI syUaUNIpas asou} 4Joj lun suydures ayy,
"‘AeMUEd StLB IOJ WisdUOS FeTTUa}Od Jo stoxdooad ay} MOUS SIS Id SUL

‘Auvadoig YOSN A} Jesu Nodeg aout ay] pue nokeg soura wi sjUSTUNpPes ou oe joafoid 34) Jo saLrepunog jetreds ayy,

Apis ay JO
SOLIEPUNOG 94) APUAp] “+

 

 

 

 

 

 

 

 

 

‘noARG SOULA STI] pue noAeg soul, ul Weensdn seaze punoudyoeq pue nokeg soul wosy sajdures yuaUIIpas yo|jo)  *z
mnodeg sinduj
SOULA OHI] Jo nodeg soulA ul juoUNTpas jorduu 0} peUdjod oy) aaey JO dave Jetf) soseofau/sypids SU0}S1Y JO/pue SUIOsUO usp] “| uOBULOJUT AJQUAP] “¢
‘Apauiad 0 fo uoNsajas 40 JuauissassD jOUOTIppD juDLaDA (11 40 ‘Apatuas D fo woljoajas 40 uOYDNyDAa soyjing ou aambas (1 [-TOV suo Yy
fo Suojisod jy} puatumorss 01 aap Suonsanh Apnis jodioutad ayy fo uounjosas ayy wod nse. pynod yoy] suoOD aaywUdayD ayy BATUIOIPY dUIOq “GZ
i{seare
punowsyorg uy pus Apadorg YOSN ays eau) qeuNpes Ayadoid-jyo Jo sansialRsey yeorsAyd pure ALSILUDYS [VIOUSS SYST IVUAL Pp
{luasaid Si JUSUApa|s B19yM SHoIe UI UQRY JO suMEU OY Srey, CE
E8iojdasay jeo1Fopooe 20 YYyRoy UEUMY Oj Ys o]qeideooeUN Ue asod seare punoByoRq Ul JUaUNpes Aviadosd-jyo UE SIIOIOG 'Z suonsang Apnig
S10jdaoa1 fes{3ojOde JO Yeay UBLUMY OF SEE afquidaooeun Ue asod jusWIpas Ayadoid-jyo Ul SQdODOd “| pedroutg 343 Apuuopy "eZ
INTAIMAS ALYAdMONd AAO
“sEase puncisyorq puv nodeg oul, op] pue nodeg soulA
ul Apog 178m oY] JO WOHOg ay) puk soRpIns ay) UooAyag AeMyyey Apoyeuntxoidde yjdap e si Joye soRpINS 10} Wun Fuyduies ayfo
“AB Mmyred S143 10} Wisdu0s yenuaiod Jo syoideoel oy MOYS SASDd FUL @ Apnis ayy jo
“Apodolg YOSN Sy} wou NoARg SOUL, aT puk nokeg sour, Uy JoJeM DORIS OY due Poford oY Jo soLpuNog JeNeds oy] e saLlepunog ay} ANuap] ‘p
“Te1BM BdB}NS UL SOQOO JO aouasald jenusiod sip pue Apyenb orem aovjins ary ayenyeaq -¢
‘(O}2 “SUOTORsa}UE JoyeM JOBpINS 0} JayeMpuTONs “APOO[9A MO] “B'9) oUNTOI MOY JOTEM AOBJINS ZLIMOEIEY 0} BYE 199][0} “pf
“oWeM aoupins Ieduil 0} [enusjod ay) savy Jo sARy yey sosesrouys|fids D03sTy 10/pue Buios-uo AjepyY “¢
‘{-1OV 0} us98/[pe J9yem oRpns payoedun sary IyTw yey) saonoeid asn puey jenusiod Arwuapy -z sinduy
"UISEQ-qNs paysisieM 34) WYN aBeureip pur Arepunog aug oyeourfaqy "| UOHBULOJU, Qajuspy “¢

 

EIOV Od SHALLOALAO ALYIVIO VIVO ~ 6 ATAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 45 of 102

L 40 1 a8eg

 

‘QUINOA o]dues ayenbape apiaoid oF

Avessagau aq Avur sajdiues ysipfays aysoduios ySnouyype sayduues oy ;eRPLAIpUT are Ys[pays pue yst soy Nun Fuydures ayy
“ABMYTEd STYY JO} LLIsOuOS peNA}Od yo s1ojdaq—q1 ay) MOUS SISOd ALL

‘yop Aue arog pojduies aq Apu ysy — sauepunog Borsa ON

“NOABY DOU A IPT UE SB [fam sv vaue siy] Jo Weansdn ease poyeusisep B WO} payoe|}oo aq FIM

sajduies punoisyorg ‘nockeg sul A Juaoelpe aty 0} popuayxs se sauepunog ALadoig YOSM Weuxoidde oy ome satepunog sy,

Og

Apns
ay] JO soLrepunog suo "y

 

“Sulfdures JUSUUpas SUIMO][O} POLJEHFEPT 94 [LM s1aBue} LUN] UOHOATEp poyjaw peonAjeuy

“sasATEUR Dd OO 40} satoads 20d adimes GSIA/SIA | pue sivaydnp pyaly | 1997709 :sojdues NAV VO

‘sardwes onsen ysy ul payodes sogQO psisajs Joy soydures onssy ysyy punouSyorq ozAyeue ‘payueuem J]

“Byep [Rot] Ajeue oy} oyepye A

‘(saydiues onssi ysty

Ul pazdjeue oq 0} SOdQD JO ISH] 94} SULULOISp jpim sajdtles yuoMNpos oy) UI puNOID YONG pue (sTOHS) si UOeHIUENb aydures
SAOQE payoajap “S}USLNU ;RIUASSe SUIpN[IXe “SOqOD) papsajjoo soyduies onssy Ys Ui SOOO paefar-Awadoig-ywOSN aanseay]
“TAOY JO Atuwora ayy ui yysnes

YSU[]aYS Woy sofduues pue ‘potunsucos pue vaue ayy UL 1ySneo AjuouWOS (HUN ezIs jeBo]) soroads YysyMY wo sapdumes yoaT[OD

e

sinduy
HORBULIOJUL AQQuapy “¢

 

‘Apaiuas p fo uolj2ajas 40 JUaUSSassD JDUOTTIPpH juDLuDMA (11 JO ‘Apatuas D fo uoYoaas 40 uONONDAA sayjanf ou aambag (I
[OF fo suonsod joy) pusuutozas 01 3.40 suousanh Aprys jodioutid ayy fo uoynjosas ays mod jase pynoo iwyy sucuaD JAYDUAITID FY f

sudIOy
DANELUIOIY SUeC] “QZ

 

7540109991

jBo/Sopose 10 YYBOY UELUNY OF YS]4 ajqvidasoeuN ue asod onssi} YslE NOKEY SOUL A OI] pue NOARG BOUTA UE SqGOD OC

J

 

suonsang) ApS
jedyourrg ap Agiyuapy ‘ez

 

 

ASTATIAHS (NY HSTA

 

CIOV UOd SYAILIAAO ALYIVNAO VIVO ~ 6 TIAVL

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 46 of 102

FIGURES
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 47 of 102

Sap Apedoig HOSE iepoW sus jocgdesuoc WNeOH WELL Amun L-SLamedy 9p Loz ienodey Ilo SN - eee SBuMS BBOg Wdpete ~ PLeziZ bed

 

SASLNAOS ONY SYSSNIONS ONILINSNOS

O11 ‘YS 1SaHM 8 ONMHSE ‘YOLS Wd

 

AH -OSMOSHO

PLOZ “litidy ‘Blva

 

SNOISIASY

HOZ ‘Ag

 

 

C98. “LOdrodd

 

ALdadOudd 4YOSN
TAGOW 3LIS IWNLIdaONOD
HLIVaH NVANH AYVNIATISdd

b aunbiy

 

SVX4L ‘VNIGVSVd
SLIS AYAAOD3H 10 SN

 

 

 

 

“yueuupas

 

 

 

 

 

 

 

 

 

 

 

 

‘Buyjduies puncbyeg ayeudoidde yj Uogouniues ui Dewoped oq o} eipaw asayy jo Buydues +

"Bale BUF
Ul Sjan8) jeve}e pue Ajuijes jenjeu YBiy Oo] anp aounosal jeunynouBe jo ayqejod e jou si Jaye BORLNS op

“YOO}S2Ay SNSeWOp Nue ‘sonpoid puncs-moleq pue puncf-evoqde ‘sea] yrs Ue Auedaud-yo of
shemiped uaqel6i jo sseuajejdu0o ayi SIeN]EAS 0] RIED eypa Ase BU} LIC Pased PSPEMeAS Og HUM
sjuspisa, Aqieau Sugsedui Aqejusjod sucissiwie [snp ayeinoed Pue SOA Os tow syoedud jequalog ¢

“Say auy Suunp
pepayjoo eipaw Podsuey 16) Byep pue eyep sounos Aewud jo UOeZepisuoD Ul sseoGId SABIE UB
YONGAY PAPwNYBAS oq 4A suoideds) asaLT 10} WSdUGS JO SHROKAYO Payeioosse pus seinsodxa ienueIod Z

eudoudde y ‘syuin sayempuno6 Jadsap lospue Jayempunols Apedoid-yo

40] Sjejduoou ase sAemiged asaLy ZU} aunsus Oo} Payebyseaul aq [LM SpedUI EWE} Y “VOReSYSSAUI

Joyempunaib suj JO ped se palwoypied aq osje [JIM sam Jayem JO eouEseid aLp 10} Bale ALiadoid-yo

pue -0 au] 40 Agvuns Yy ‘sun Guuead JayeapUunob ]UeASION Ie JO ALVES GU) SZLO}OEIBYO 0} Pa}Se1O0
5q jE RIEp UaABAOH “AUeS aly UBAS a[qeasn s} eae ska Ui Je]BMpUNOI MOHeUS Jul AJeHUN S13] |.

 

“ejojduoou si Aemigeg =|

“eyaidiuos Aqissed si: Aemueg

a.

‘eyatdivos Ayequajod st Aemyed

oO

 

Pa}LWIjSe oq C} SUOReNUSDUOD Whipeui aunsodxa JUaSsasse ySL UyPAY UEWUNY 104 Cc]

"Ryep aidwes Bipau UOeiey
puoses pue gipew Asmuilid Jo synsaz uc Daseq perduues aq 0] BIPau UONEISP PJiLL

 

‘SYED O/GWES eIpeU AlBulLic jo SyNse: UC peseg pajdwes aq 0} BIPaLU LONBIay PUDDES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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=o en @ a go ge ©
$2] | 82 2 ae a2 2
SHOLd3939e WILNILOd

 

 

 

 

 

 

 

 

 

 

ye Hed HO : “Sa/ny jo e6eys jen1ut Suunp paidwes ag oj epald Gewiy ae
‘ ‘GNASd?
sre 898LNg
» Aladoig-4o: saseaiay [EsuaTSiH 7]
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! J REMPUN GIS) ' : Buyoee'] f Oe
: : | ABFEMPUNOIC) fae : ¢ SU) SaqunEs
| Ausdaud 30 Sep ns AOWEIUU BIBLASGNS UAMOUYL}
(SWISINVHOSI (S)IWSINVHOSIN
Wwohidaw 3svaisy F5uNos asvalay aownoes
AHNSOdXa AMVONODSS AYWONODSS AMV Aavinddd

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 48 of 102

Bap Aadold HOSTMOpOW ays fendeouos peaBo.oo3 Auauyeis 2-Byudy FovLogvusnooey WO SP ~ E98} SOLINEICA:D HISD WE PEE - HLOZ/2 LPC

 

 

SLSLLNSIOS GNV SUSANIONS ONL INSNOD
O71 ‘Ya TSSHM ® ONTIHSE ‘OLS Vd

 

SNOIS

LHM “OSHOSHO

bd “Wed -aLva

 

 

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£98b -LOafOud

 

THQOW ALIS TWNLdSADNOD
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“payeneas ag iim ASMuUjed SIL} 'SShIAySe
voHednseau) Buunp Parlesao S38 YS] jj “PSAISGO JOU dJaM YSty xa

“Bujdwes punqibyoeq syeudoidde
UM USIuNTuOS UI pauuoped aq o} BIpsw asayy jo Buydiues «

“eipew Asm Woy synses ajduves uo paseg JeuueL
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 49 of 102

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EXPLANATION US OIL, RECOVERY
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 50 of 102

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EXPLANATION PASADENA, TEXAS
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14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 51 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 52 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 53 of 102

ATTACHMENT D-1I

AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 54 of 102

ATTACHMENT D-1— AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

This document summarizes the ownership and operational history for Area of Investigation 1 (AOI-1) at
the US Oil Recovery (USOR) Superfund Site, previous and proposed removal actions at AOI-1, anda
rationale for the proposed sample locations described in the Scope of Work. ‘This information will also be
included in the Remedial Investigation/Feasibility Study (RI/FS) Work Plan and is provided in this
document as additional support for the investigative approach described in the Scope of Work.

GENERAL SITE INFORMATION

The USOR Property is located at 400 North Richey Street in Pasadena, Harris County, Texas, 77506
(Figure 3 of the Scope of Work). The approximately 12.2 acre property was most recently used as a used
oil processing and waste treatment facility by US Oil Recovery LP (USOR LP). The facility is within a
larger industrial complex in the north part of the City of Pasadena, TX. Mixed industrial/residential areas
are south of the facility while Vince Bayou and the Houston Ship Channel are to the north.

An office building, security guard shack, and large warehouse (approximately 25,000 square feet in size)
are present on the property. The warehouse includes a former laboratory, machine shop, parts warehouse,
and a material processing area that included a filter press. Approximately 800 55-gallon drums (some in
over-packs) and 212 poly totes (300-460 gallons) containing various industrial wastes are present within
the warehouse. A tank farm with approximately 24 aboveground storage tanks (ASTs) containing
industrial wastes located within secondary containment is located on the north end of the warehouse. A
large, concrete-walled aeration basin (also called the bioreactor) is located west of the tank farm. A
containment pond is located west of the warehouse and south of the aeration basin. Approximately 225
roll-off boxes fitted with precipitation covers are located on the property. An inactive rail spur enters the
south-central part of the USOR Property from the south and extends north along the west side of the
warehouse. A utility right-of-way with various pipelines is present within the southern part of the
property and pipelines are also present outside of the property along the eastern and western sides.

The following historical operations have reportedly been conducted at the USOR Property:

e Manufacturing of arsenical, chlorate, and borate pesticide and herbicide products;
e Manufacturing of fertilizer and sulfuric acid;

e Leather tanning and cow hide exporting;

e Storage of various hard goods; and

* Used oil processing and waste treatment.

Potential On-Site Releases

This section describes potential releases from USOR Property operations that may have impacted
environmental media from 2005 umtil late 2010. These releases are described in the HRS Documentation
(EPA, 2011) for the USOR Property. If the location of a release listed below is known, it is shown on
Figure D-1-1.

October 7, 2005. The TCEQ Region 12 Waste Program received a complaint that alleged USOR LP had
discharged contaminated stormwater from a pipe located just outside the entrance to the property and
dumped tank bottom waste into a manhole located on the southeast side of the USOR Property (Figure D-
1-1}. The manhole was connected to the sewer line used by USOR LP to discharge treated wastewater to
the City of Pasadena. During the inspection a ditch was observed with dark colored water between N.
Richey Street and the manhole. The TCEQ investigator concluded that the water appeared to overflow
from the manhole since the vegetation near the manhole was distressed. Soil samples were collected and

D-]-]
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 55 of 102

ATTACHMENT D-1—- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

results showed concentrations of arsenic, lead and mercury exceeding TCEQ Commercial/Industrial
Protective Concentration Limits (PCLs) for soil protective of Class 1/2 groundwater near the manhole on
the southeast side of the site and at the stormwater outfall near the front gate. The analyte list included all
RCRA metals, copper, nickel, zinc, BTEX compounds, and TPH. 'Soileoms PCLs were not exceeded
for any of the compounds evaluated.. There is no indication that this release migrated past the ditch near
the facility.

February 23, 2006. A TCEQ Region 12 Waste Program investigator collected soil samples near the
northwest corer of the tank farm where an oil spill had occurred; at the north end of the former arsenic
burial pit located to the west of the warehouse building; and in a drainage area west of the warehouse
building. These samples contained concentrations of arsenic, barium, lead, mercury, several pesticides,
SVOCs, and VOCs exceeding commercial/industrial PCLs. Information related to the concentrations of
the compounds analyzed and which PCLs were exceeded was not included in the reference to the HRS.
USOR LP reported that the oil spill near the northwest corner of the tank farm was a result of 50 to 100
gallons of liquid released onto the ground from a leaking pipeline near the containment wall. According
to USOR LP, impacted soil was removed although there is no information related to the analytical testing,
area of potential impact, or the removal action. The exact locations of the releases were not provided in
the HRS.

December 17, 2007. TCEQ found an unauthorized discharge of wastewater onto the ground due to
cracks in the west wall of the aeration basin. Six soil samples were collected: two samples from
approximately three feet from the base of the basin, one sample from approximately 58 feet away at the
north fence line; two samples from the adjacent downgradient property to the north; and one sample from
approximately 88 feet north of the USOR Property. Arsenic, lead and mercury were measured above
TRRP Tier | residential PCLs. Information related to the concentrations of the compounds analyzed and
which PCLs were exceeded was not included in the reference to the HRS. There is no indication that this
release migrated beyond the sampling point 88 feet north of the USOR Property. The exact location of
the release cannot be determined because a map was not provided in the HRS for this release.

March 14, 2009. USOR LP reported that there was a release of several hundreds of gallons of hazardous
waste from the west side of the bioreactors, which migrated north on the property about 150 feet and then
outside of the property another 200 feet to the north (Figure D-1-1). Affected soil was excavated and
disposed of off-site. No information was provided to indicate what compounds were analyzed for or how
it was determined if soil was affected. There is no indication that this release migrated beyond 200 feet to
the north of the USOR Property.

September 2609 through January 2010. During several site inspections, roll-off boxes, containers, and
drums in the warehouse were observed to be leaking and no secondary containment was present.
According to the RCRA §7003 Unilateral Administrative Order, “On December 2, 2009, EPA inspectors
observed the stormwater basin overflow with the discharge going to Vince Bayou. An oily sheen was
present in the off-site discharge.” Several waste material samples were collected but no samples of
environmental media were collected, The exact locations of the releases were not noted and a map was
not provided in the HRS.

July 2, 2010. After a large rainfall, the TCEQ visited the site and discovered that it had been abandoned.
The TCEQ reported the potential release of hazardous substances because numerous roll-off boxes
labeled as containing hazardous waste were filled with liquid, overflowing onto the ground, and the liquid
was flowing off-site. Because of the rainfall, Vince Bayou was flooded and breached N. Richey Street.
Because of the visual observation of uncontrolled release of liquids from the retention pond, secondary
containments, and roll-off boxes labeled as containing hazardous waste, EPA initiated an Emergency

D-4-2
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 56 of 102

ATTACHMENT D-1 — AREA OF INVESTIGATION I
PROPERTY HISTORY AND SAMPLING RATIONALE

Response and Removal Action to stabilize the site and prevent further migration of site related
constituents off-site. The exact locations of the releases were not noted and a map was not provided in
the HRS.

November 4, 2016. The Harris County Public Health and Environmental Services (HCPHES) reported
that an oily discharge was occurring from the USOR Property following a heavy rain. EPA found
damaged containers in the warehouse and the overflow and off-site migration of liquids to Vince Bayou.
The exact location of the release was not noted and a map was not provided in the HRS. No
environmental samples were collected during this inspection.

Investigation History

According to the PA (TCEQ, 2011) and other documents, the following environmental investigations
have been conducted at the USOR Property. Note that although these investigations are described in
various documents and references to concentrations of various constituents are also included, sample
location maps and/or actual analytical data are typically not provided in the documents. Furthermore, for
many of those investigations where data are provided, the data are of limited value due to the fact that
much of the data lack the required backup information such as sample location maps, quality
assurance/quality control (QA/QC) data, and/or analytical method information. Data with the appropriate
backup information are described in the Existing Data Evaluation section of the Scope of Work, including
data summary tables and sample location maps.

1971. Over 100 soil samples were collected in the Spring of 1971 at varying depths. Sample locations
were not provided. Arsenic was the only compound evaluated. Samples ranged in concentration less than
10 mg/kg to greater than 3,000 mg/kg in two samples.

1973. According to Progress Report No. 2 Dated October 3, 1973 and associated laboratory reports for
several sampling events, water samples were collected in various tanks, a sump pit, and other locations;
and soil samples were collected mostly from the west side of the warehouse building (but also in other
locations as noted in the laboratory reports). It appears that this work was done in order to focus the areas
where excavation would be conducted,

October 30, 1991. A Phase 2A Environmental Site Assessment (ESA) was prepared for Covesud S.A.
by Espey, Huston & Associates (EH&A) which described the investigation of a below-grade concrete
vault that was located west of the warehouse (Figure D-1-1). Soil and groundwater samples were
collected from three borings. Arsenic and several pesticides were measured in soil and groundwater from
all three borings while groundwater and soil samples collected at one boring also contained various
organic constituents that appeared to be solvent and resin-related compounds.

November 14, 1991. EH&A completed a Phase 2B ESA for Covesud S.A. to further investigate the area
near the concrete vault. A below-grade pit (tank) was also discovered within the warehouse. Samples
were analyzed for arsenic and copper, VOCs, SVOCs, TPH, and pesticides. Soil and groundwater
samples collected from these additional borings associated with the vault contained elevated levels of
arsenic, copper and pesticides. The contents of the tank were sampled and indicated the presence of
arsenic and copper but not the other analytes.

October 7, 1992. TWC issued a NOV for unauthorized discharge after becoming aware of soil and
groundwater contamination at the USOR Property. Specifically, the NOV states, “Analytical results from
soil and groundwater samples collected from the above-referenced site indicate a high concentration of
arsenic, and high level of total petroleum hydrocarbons, and the presence of several pesticide and organic
solvent constituents.”

D-1-3
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 57 of 102

ATTACHMENT D-1 —- AREA OF INVESTIGATION I
PROPERTY HISTORY AND SAMPLING RATIONALE

December 4, 1995, Seven surface soil samples were collected by Environmental Remedies, Inc. and
analyzed for TCLP metals and three water samples were collected from three concrete pits containing
water and wastewater from prior industrial use as part of this investigation. All samples were analyzed
for TCLP metals, VOCs, and SVOCs. Sample locations were not provided although the report indicates
they are contained in an appendix to the report. The soil samples indicated the presence of barium and
lead at levels below TCLP hazardous criteria. Composite samples from concrete wastewater pit 1
indicated the presence of mercury and several VOCs and SVOCs. Barium, cadmium, chromium and lead
were identified in the water sample from pit 2. No results or summary information were provided for pit
3 other than a statement that this was “an outside pit that measures 8’ x 10’ and is nothing more than a
water gathering pit adjacent to a water valve/fire hydrant.”

March 2, 1998. Twenty discrete surface soil samples were collected at the west side of the storage
warehouse. The soil sample locations occurred beginning approximately 50 feet north of the former vault
area and heading south on 50 foot centers. Arsenic concentrations ranged from the detection limit to 190
mg/kg. According to the report from Extra Environmental, Inc. dated March 2, 1998, the data indicated
three areas of potential impact with 1) the highest concentrations analyzed occurred north of the former
vault area; 2) the second area located south of the former vault area and adjacent to the former warehouse;
and 3) the third area located south of the former vault area and west of the former warehouse.

June 24 through July 17, 2001. Soil and groundwater samples were collected throughout the USOR
Property by EFEH & Associates as part of an Environmental Site Assessment for Arsenic in Groundwater
and Soil on behalf of Mr. Decker McKim of ReMax Southeast. The report, dated August 27, 2001,
indicates that the rail spur that ran along the rear of the warehouse has been removed. The current
occupants were using the property to store appliances and church storage. Samples were analyzed for
arsenic only. Of the 25 soil samples, only one had measured concentrations greater than 200 mg/kg and
none of the groundwater samples collected from the boreholes exceeded 0.05 mg/L. The one soil sample
with arsenic measured at 219 mg/kg was taken from the center of the pit on the west side of the
warehouse (Figure D-1-1}, On January 14, 2002, the Corrective Action Section requested additional
information and submittal of an Affected Property Assessment Report (APAR).

May 16, 2062. An APAR was prepared and sent to the TCEQ by Mr. Decker McKim on behalf of Hide
Exporters of Texas. It appears that this report re-packaged the data that was coliected during the summer
of 2001 (and submitted at that time as an Environmental Site Assessment by EFEH & Associates).

TCEQ issued a notice of deficiency on August 29, 2002 requesting a revised report to fulfill the Agency
reporting requirements and further information related to the use of the critical PCL for arsenic of 200
mg/kg. On March 20, 2003, the TCEQ requested additional information after reviewing a response letter
dated December 26, 2002 related to the critical PCL used in the evaluation since 18 soil samples exceeded
the soil to groundwater PCL of 2.5 mg/kg. In addition, this letter asked that the synthetic precipitate
leaching procedure (SPLP) test be performed on soil samples,

April 2003. Twenty-nine additional soil and 10 additional groundwater samples were collected and
analyzed for arsenic as documented in a submittal to the TCEQ on May 6, 2003. The dimensions of the
arsenic waste pit were delineated by the additional boreholes. The submittal provided information related
to the impervious nature of the highly compact silty clay underlying the property and results of the SPLP
test. On August 18, 2003, the TCEQ gave conditional approval of the APAR: the soil assessment phase
was deemed to be complete but additional information related to groundwater was requested.

September 15, 2003. Additional information was submitted by the property owner related to analytical
data from sampies collected on September 3, 2003 from the groundwater monitoring wells; and recorded

D-1-4
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 58 of 102

ATTACHMENT D-1I —- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

deed notices, TRRP Deed Notice and Industrial Solid Waste Deed Notice of Waste Disposal for the
arsenic pit, which was left in place at that time.

October 7, 2065. TCEQ Region 12 Waste Program investigator collected three samples of surface soil
from an area of distressed vegetation located near a manhole on the southeast side of the USOR Property
and analyzed the samples for BTEX, TPH and inorganic compounds. Results showed concentrations of
arsenic, lead and mercury exceeding TCEQ Commercial/Industrial PCLs for soil protective of Class 1/2
groundwater near the manhole on the southeast side of the property and at the stormwater outfall near the
front gate. It should be noted that 1S oilcomb PCLS were not exceeded for any of the compounds
evaluated, and that the analyte list included all RCRA metals, copper, nickel, zinc, BTEX compounds,
and TPH. There is no indication that this release migrated past the ditch near the facility.

February 23, 2006. A TCEQ Region 12 Waste Program investigator collected soil samples near the
northwest corner of the tank farm where an oil spill had occurred; at the north end of the former arsenic
burial pit located to the west of the warehouse building; and in a drainage area west of the warehouse
building. These samples contained concentrations of arsenic, barium, lead, mercury, several pesticides,
SVOCs, and VOCs exceeding commercial/industrial PCLs. TCEQ recommended the following
corrective action: the horizontal and vertical extent of contamination must be determined, provisions
under TRRP must be applied, and an APAR and Remedial Action Plan (RAP) should be submitted.
Information related to the concentrations of the compounds analyzed and which PCLs were exceeded was
not included in the reference to the HRS. USOR LP reported that the oil spill near the northwest corner
of the tank farm was a result of 50 to 100 gallons of liquid released onto the ground from a leaking
pipeline near the containment wall. According to USOR LP, impacted soil was removed although there is
no information related to the analytical testing, area of potential impact, or the removal action. The exact
locations of the releases were not provided in the HRS.

December 17, 2007. TCEQ Region 12 Waste Program investigator collected six soil samples after
observing a leak in the aeration basin. Two soil samples were collected approximately three feet from the
basin; one soil sample was collected approximately 58 feet away at the north fence line; one sample was
taken approximately 88 feet north of USOR Property; and two soil samples were collected on the adjacent
down-gradient property to the north, The two samples collected on the adjacent down-gradient property
to the north contained petroleum hydrocarbons at levels that required remediation. All six soil samples
contained arsenic, lead, and/or mercury exceeding TCEQ TRRP Tier | residential PCLs. Information
related to the concentrations of the compounds analyzed and which PCLs were exceeded was not
inciuded in the reference to the HRS. There is no indication that this release migrated beyond the
sampling point 88 feet north of the USOR Property. The exact location of the release cannot be
determined because a map was not provided in the HRS for this release.

October 12, 2609. Letter sent by USOR LP reporting completion of remediation activities following a

March 14, 2009 release of waste from the aeration basin. Results of confirmation samples collected and
analyzed for metals, VOCs, and SVOCs were submitted to TCEQ. Arsenic concentrations off-site were
elevated but USOR LP indicated that the bioreactors did not contain arsenic-bearing material since they
do not receive arsenic-bearing waste at the facility.

D-1-5
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 59 of 102

ATTACHMENT D-1-— AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

Removal/Response Actions

This section describes removal or remedial actions that have occurred at the facility based on available
documents. In addition, proposed remedial actions by the PRP group are provided. Additional actions
may be necessary pending the results of the RI.

Property Owner Actions

December 7, 1973. Ina progress report from Rhodia Inc., Chipman Division dated December 7, 1973
related to actions required following a court hearing, a removal action consisting of the removal of 5,000
cubic yards of arsenic-contaminated soil from an area on the west side of the warehouse building (what is
now the tank farm) was completed. The contaminated soil was disposed of on-property and treated with
lime to immobilize the arsenic. Based on a September 1973 drawing, the borrow pits are located on the
southwest portion of the property.

1990. Contaminated soil was removed and placed in an on-site pit on the west side of the warehouse and
mixed with lime to form calcium arsenate and thus render it insoluble in water. This is later called the
arsenic waste pit.

September 22, 2003. USOR LP removed 1,608 cubic yards of arsenic waste and soil from a buried
waste pit on the west side of the warehouse. This material was disposed of off-site. On October 10,
2003, the TCEQ approved the waste removal report. On October 17, 2003, the TCEQ indicated to Hide
Exporters of Texas that TRRP Remedy Standard A had been achieved for this area and no post-response
action care was needed. This letter addresses two reports that are not in the PA (TCEQ, 2011 or HRS
documentation) - Groundwater Sampling and Institutional Control Report dated September 15, 2003 and
Groundwater Sampling Report dated September 26, 2003.

July 21, 2005. Sixty cubic yards of soil was excavated near a manhole and ditch associated with surface
water discharge from USOR Property. This excavation was reported by USOR LP to be in response fo a
request from the City of Pasadena Fire Marshal after a paint spill occurred on N, Richey Street. USOR
LP employees indicated that the October 2005 incident involving the manhole and an alleged release was
a result of Vince Bayou flooding and then becoming stagnant in the excavated areas that were now lower-
lying than the rest of the general area.

Letter from USOR LP dated March 2, 2006. USOR LP reported that, on or during a TCEQ inspection
on January 10, 2006, 50 to 100 gallons of liquid was released onto the ground from a leaking pipeline
near the containment wall by Tank 3. Impacted soil was removed although there is no information related
to the analytical testing, area of potential impact, or the removal action.

Leiter from USOR LP dated October 12, 2009. F ollowing a release of hazardous waste from the west
side of the bioreactors, which migrated north on the property about 150 feet and then outside of the

USOR Property another 200 feet to the north, USOR LP initiated response actions that included removing
liquids by vacuum truck and removal of about 3 inches of soil by dozer, backhoe and hand excavation
from the affected areas. 115 cubic yards of soil was disposed of off-site in the Fort Bend Landfill.
Confirmation samples were collected and analyzed for metals, VOCs, and SVOCs to confirm that site
remediation objectives (Tier 1 Commercial/Industrial Soil PCLs) had been met within one week
following a March 14, 2009 release of waste from the aeration basin. Arsenic concentrations off-site
were elevated but USOR LP indicated that the bioreactors did not contain arsenic-bearing material since
they do not receive arsenic-bearing waste at the facility.

D-1-6
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 60 of 102

ATTACHMENT D-1 - AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

EPA Lead

August 2, 2010. EPA completed its Emergency Response and Removal at the site, which included
securing and inventorying 225 roll-off boxes, 797 drums, and 212 poly totes and disposing of
approximately 392,000 gallons of non-hazardous material off-site.

November 4, 2010. Following a heavy rain and observing damaged containers in the warehouse leaking
and migrating off-site, EPA recovered approximately 410,000 gallons of non-hazardous oily liquid waste
from the north and south secondary containment (tank farm) areas, sumps and bays, and parking lot. In
addition, nine vacuum boxes of non-hazardous sludge waste and four vacuum boxes of hazardous sludge
removed from various tanks were disposed of off-site. EPA personnel completed the emergency response
on December 20, 2010.

PRP Removal Actions

The PRP Group is in the process of implementing a series of removal actions to address some of the
potential source areas on the USOR Property. These removal actions are being performed pursuant to the
Removal Action AOC dated August 25, 2011. Specific removal action scopes were described in addenda
to the Site Stabilization and Monitoring Work Plan submitted in accordance with the Removal Action
AOC requirements. Work Plan Addendum No. 1, dated April 20, 2012, described the approach and
procedures for removal and off-site disposal of liquids and solids from the bioreactor followed by
bioreactor demolition. The bioreactor liquids were removed in accordance with this addendum in the
summer of 2012. Subsequent sampling of the bioreactor solids indicated that due to the characteristics of
those materials a different removal approach would be needed. Work Plan Addendum No. 2, dated July
29, 2013, provided the approach and procedures for removal and off-site disposal of the bioreactor solids
and other containerized materials, including liquids and solids in the 225 roll-off boxes associated with
the former USOR LP operations. Removal of the roll-off box liquids has been performed. Removal of
bioreactor and roll-off box solids is currently underway. The discharge of approximately 600,000 gallons
of water from the containment pond to Vince Bayou was performed in December 2013 in accordance
with an authorization from the EPA and TCEQ, Additional discharges from the pond may be performed,
as warranted. Future removal actions are intended to address the contents of the aboveground storage
tanks (and associated sumps and containment areas and totes/drums within the warehouse.

SAMPLING RATIONALE
SOIL SAMPLE LOCATIONS

On-property and off-property soil sample locations (Figure 6 of the Scope of Work) and information
relied upon to determine sampling locations is presented below. This information is based on review of
historic Site documents, historic aerial photographs (attached), and reconnaissance observations at the
USOR Property.

Soil samples will be collected to evaluate the lateral and vertical extent of constituents of potential
concern (COPCs) in soils, Soil sample collection intervals would be based on location specific
information (i.¢., deeper samples collected from “source” or “process related” areas and shallower
samples collected from surface water run-off areas) and are anticipated to include one or more of the
following intervals; surface soil (0 to 0.5 ft bgs), shallow soils (0.5 to 5 ft bgs), and subsurface soil
(greater than 5 ft bgs) as described in the Scope of Work.

Preliminary soil sample locations are subject to revision based on the data and information collected
during RI/FS Work Plan preparation and/or during the field investigation.

D-1-7
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 61 of 102

ATTACHMENT D-1~— AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

On-Property Soil Boring Location Rationale

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sample

Location Sample Location Rationale

SB-] Railroad spur loading/unloading pad observed in the 1944 aerial photograph (attached).

SB-2,3 Lack of vegetation in this area on aerial photographs such as 1978, as well as text in
historic reports regarding burial of arsenic contaminated soils in this general Jocation.

SB-4 Disturbed soil based on 2004 and 2008 aerial photographs,

SB-7 Disturbed soils on the southeastern portion of the property based on 2004 aerial
photograph.

SB-9,10,11, | Southeastern tank/roll-off box storage area used for the temporary containment of waste

65, 66 material.

SB-12 Disturbed soils along the eastern property boundary based on 1944 aerial photograph and
location of tank/roll-off box storage area used for the temporary containment of waste
material.

SB-13 Disturbed soils on the south-central portion of Site based on 2004, 2005, and 2007 aerial
photographs; and location of tank/roll-off box storage area used for the temporary
containment of waste material.

SB-14 Stockpiled equipment on the southeast corner of the warehouse based on 2005 aerial
photograph.

SB-15 Equipment staging area east of the machine shop based on 2005 aerial photographs.

SB-16 Soil sample collected in 2001 with elevated arsenic concentration.

SB-17 Stockpiled material west of the machine shop and south of the containment basin based
on 1978, and 2006 aerial photographs.

SB-18 Drainage ditch enters the property from the western property based on the 1944 aerial
photograph.

SB-19 Drainage ditch extending from the western property dead ends at the railroad tracks, west
of the warehouse, based on the 1953 aerial photograph.

SB-20, 67, | Northwestern property boundary adjacent to the containment pond and in the vicinity of

68 the tanks/roll-off boxes used for the temporary containment of waste material.

SB-21 immediately west of the containment pond.

SB-22 Possible stockpiled material located to the west of the warehouse based on the 1978
aerial photograph, possible stockpiled material located to the west of the containment
pond in the 2006 aerial photograph, and location of tanks/roll-off boxes used for the
temporary containment of waste material.

SB-23 Underground vault and run-off area west of the warehouse in numerous aerial
photographs,

SB-24 Five cylindrical and four square tanks/pits west of the warehouse based on the 1953
aerial photograph, soil disturbance west of the warehouse based on the 1989 aerial
photograph, drainage path extending north from containment pond observed in the 2005
aerial photograph, and stockpiled material north of the containment pond as observed in
the 2006 aerial photograph.

SB-25 Soil sample collected on 1998 with elevated arsenic concentration.

SB-26 Drainage path extends north from the pit/pad in 1995 aerial photograph, bare soil along
the northwestern property boundary based on 2002 aerial photograph, stockpiled
material in the 2004 aerial photograph, and location of tanks/roll-off boxes used for the
temporary containment of waste material.

SB-27 West of the bioreactors where tanks/roll-off boxes used for the temporary containment of
waste material.

SB-28 Bare soil areas along the northwestern Site property boundary based on 2002 aerial

 

D-1-8

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 62 of 102

ATTACHMENT D-1 —- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

photograph.

SB-29 Surface water drainage path away from bioreactors, based on Site reconnaissance
observations.

SB-30 Bare soil area in the 2005 and 2007 aerial photographs, north of the containment pond,
and tanks/roll-off boxes used for the temporary containment of waste material.

SB-31 Stockpiled material west of the AST area in the 1978 and 2004 aerial photographs,
northwestern Site property boundary and around the aeration basin, and tanks/roll-off
boxes used for the temporary containment of waste material.

SB-32 Bare soils north of the ASTs based on the 2007 aerial photograph.

SB-33 Bare soil on the north property boundary on 1953 aerial photograph, stockpiled material
on the northeast comer of the Site based on 2004 aerial photograph, and tanks/roll-off
boxes used for the temporary containment of waste material.

SB-40 Bare soil that appears to receive runoff from the gravel parking area north of the entrance
road, based on the 2007 aerial photograph.

SB-41 Surface water accumulation area that drains to the east, just northwest of the office
building, based on visual observations and aerial photographs (e.g., 2011).

SB-42 Disturbed soils along the east boundary in the 1944 aerial photograph, and surface water
drainage path observed during Site reconnaissance.

SB-43 Disturbed soil south of office building as observed in the 1944 aerial photograph.

SB-44 Surface water drainage area along southern entrance road based on reconnaissance
observations (see 2011 aerial photograph)

SB-45 Adjacent and southeast of AST loading/unloading area (see 2007 aerial photograph).

SB-46 Adjacent and northeast of AST loading/unloading area (see 2007 aerial photograph)

SB-85 Adjacent to aboveground pipeline

SB-86 Adjacent to aboveground pipeline

SB-87 Adjacent to aboveground pipeline

SB-88 Adjacent to aboveground pipeline

 

D-1-9

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 63 of 102

ATTACHMENT D-i —- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

Off-Property Soil Boring Location Rationale

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SB-5 Storm water appears to enter the property at this location from the south, based on aerial
photographs and property visit visual observations.

SB-6 Storm water drainage ditch west of N. Richey Street at southeast property boundary.

SB-8 Soil sample next to manhole where TCEQ observed discharge on 10/7/2005 and
collected soil samples that were measured with elevated arsenic concentrations.

SB-34 Disturbed soil at the northeast corner of the property based on the 1989 aerial
photograph,

SB-34 Drainage from earthen/gravel parking area east of the warehouse based on the 2002
aerial photograph.

SB-36 Drainage from parking area east of the AST area based on 2008 aerial photograph, and
tanks/roll-off boxes used for the temporary containment of waste material.

SB-37 Bare soil adjacent and east-northeast of shidge bed based on 1953 aerial photograph and
historical USOR Property drawings.

SB-38 Sludge bed on the northeast corner of the property based on the 1953 aerial photograph.

SB-39 Bare soil that appears to receive runoff from the gravel parking area north of the entrance
road, based on the 2607 aerial photograph.

SB-47 Storm water drainage ditch east of N. Richey Street.

SB-48 Surface water discharge point into Vince Bayou.

SB-49 Storm water drainage ditch east of N. Richey Street, east of the entrance drive.

SB-50 Storm water drainage ditch west of N. Richey Street and north of the entrance drive.

SB-51 Bare soil north of the entrance road, between N. Richey Street and the entrance gate,
based on the 2004 aerial photograph.

SB-52 Gravel parking area north of the entrance road to the property, prior to entering the
property, based on the 2005 aerial photograph.

SB-53 Storm water drainage ditch east of N. Richey Street.

SB-54 Storm water drainage ditch west of N. Richey Street, where surface water discharges into
Vince Bayou.

SB-55 Storm water drainage northeast of the property, where surface water discharges into
Vince Bayou. _

SB-56 Surface water discharge into Vince Bayou.

SB-57 Surface water discharge into Vince Bayou.

SB-58 Bare soil disturbance north of the property based on 1953 aerial photograph.

SB-59 Storm water run-off from material stockpiled on northern portion of property based on
1978 aerial photograph.

SB-60 Sot sample collected on 12/17/2607 where TCEQ observed run-off from a release at the
bioreactor.

SB-61 Stockpiled material north of the property boundary in the 1978 aerial photograph and
bare soil area north of property based on 2004 aerial photograph.

SB-62 Bare earthen area north of Site based on 2004 aerial photograph.

5B-63 Bare earthen area north of Site based on 2004 aerial photograph.

SB-64 Bare earthen area north of Site based on 2004 aerial photograph.

5B-69 Storm water appears fo enter the property at this location from the south, based on aerial
photographs and property visit visual observations.

SB-70 Storm water appears to enter the property at this location from the south, based on aerial
photographs and property visit visual observations.

SB-71 Adjacent to location of tank/roll-off box storage area used for the temporary containment
of waste material.

SB-72 Adiacent to location of tank/roll-off box storage area used for the temporary containment

 

D-1-10

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 64 of 102

ATTACHMENT D-1 ~- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of waste material.

SB-73 Adjacent to location of tank/roll-off box storage area used for the temporary containment
of waste material.

SB-74 Adjacent to location of tank/roll-off box storage area used for the temporary containment
of waste material.

SB-75 Adjacent to the containment pond and in the vicinity of the tanks/roll-off boxes used for
the temporary containment of waste material.

SB-76 Adjacent to the containment pond and in the vicinity of the tanks/roll-off boxes used for
the temporary containment of waste material.

SB-77 Adjacent to the containment pond and in the vicinity of the tanks/roll-off boxes used for

__| the temporary containment of waste material.

SB-78 Adjacent to the containment pond and in the vicinity of the tanks/roll-off boxes used for
the temporary containment of waste material.

SB-79 Adjacent to bioreactor and tank area

SB-80 Adjacent to bioreactor and tank area

SB-81 Adjacent to bioreactor and tank area

SB-82 Adjacent to tanks/roll-off boxes used for the temporary containment of waste material
and in area of drainage away from parking lot

SB-83 Adjacent to lift station on Southeast corner of property

SB-34 Adjacent to lift station on Southeast corner of property

 

MONITOR WELL SAMPLE LOCATIONS

Presented below is a description of on-property and off-property monitor well locations (Figure 6 of the
Scope of Work) based on review of historic documents, historic aerial photographs, and reconnaissance
observations. Monitor wells will be completed within the corresponding soil boring.

Preliminary monitor wells sample locations are subject to revision based on the data and information
collected during RI/FS Work Plan preparation and/or during the field investigation,

 

Sample Location | Sample Location Rationale

 

MW-1 (SB-3) Southwestern corner of the property where a lack of vegetation and notes in reports
reference burial of arsenic impacted soils. Assumed to be hydraulically up-gradient
of the main operational area.

 

MW-2 (SB-7) Southeastern corner of the property where disturbed soils were observed. Assumed
to be hydraulically up-gradient of the main operational area.

 

MW-3 (SB-1F) Southeastern portion of the property where tanks/roll-off boxes are used for the
temporary containment of waste material. Assumed to be hydraulically up-gradient
of the main operational area.

 

MW-4 (SB-44) Surface water drainage area along southern property entrance road based on
reconnaissance observations. Assumed hydraulically down-gradient of warehouse
maintenance area.

 

MW-5 (SB-42) Near the east-central property boundary, northeast of the office where a soil
disturbance was noted and adjacent to a surface water drainage path extending from
the concrete truck staging area. Assumed to be hydraulically down-gradient of the
warehouse maintenance area.

 

MW-6 (SB-21)} West of the containment pond where historic excavation was performed. Assumed
to be hydraulically up-gradient of operational area.

 

 

MW-7 (SB-39) Bare soil that appears to receive runoff from the gravel parking area north of the
entrance road, based on the 2007 aerial photograph. Assumed hydraulically down-

 

 

 

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 65 of 102

ATTACHMENT D-1—- AREA OF INVESTIGATION 1
PROPERTY HISTORY AND SAMPLING RATIONALE

 

gradient of warehouse container storage area and containment pond,

 

MW-8 (SB-36) Drainage from parking area east of the AST area based on 2008 aerial photograph,
and tanks/roll-off boxes used for the temporary containment of waste material.
Assumed hydraulically down-gradient of AST areas.

 

MW-9 (SB-33) Near the northern property boundary in areas of bare soil disturbances and where
tanks/roll-off boxes are used for the temporary containment of waste material.
Assumed to be hydraulically down-gradient of the main AST area.

 

MW-10(SB-32) | Bare soils north of the ASTs based on the 2007 aerial photograph. Assumed to be
hydraulically down-gradient of the main AST area.

 

 

MwW-11 (SB-29) | Surface water drainage path away from bioreactor, based on reconnaissance
observations. Assumed hydraulically down-gradient of the bioreactor.

 

 

 

SURFACE WATER AND SEDIMENT SAMPLE LOCATIONS

Presented below is a description of on-property surface water and sediment sample locations (Figure 6 of
the Scope of Work) based on review of historic documents, historic aerial photographs, and
reconnaissance observations.

Preliminary surface water and sediment sample locations are subject to revision based on the data and
information collected during RJ/FS Work Plan preparation and/or during the field investigation.

 

 

 

 

 

 

Sample Sample Location Rationale

Location

SW-l Former railroad spur area in southwest central portion of Site. Observed to retain
SED-1, SED-2, | water based on reconnaissance.

SED-3

SW-2, SED-4, | Former railroad spur area in south central portion of Site. Observed to retain water
SED-5,SED-6 based on reconnaissance.

 

As indicated in the Scope of Work, off-property sediment and surface water sample locations will be
determined based on the information obtained during on-property soil, groundwater, surface water and
sediment sampling and off-property soil and groundwater sampling.

REFERENCES

Texas Commission on Environmental Quality (TCEQ), 1997. Impacts of Point and Nonpoint Sources on
Vince Bayou and Little Vince Bayou Segment 1007 of the Houston Ship Channel. Prepared by Greg
Conley. Field Operations Division, AS-130/SR. May 1997 (document indicates 1977 but based on the
Commissioners and TNRCC letterhead and date of data presented, it is believed that the document is from
1997).

Texas Commission on Environmental Quality (TCEQ), 2011. Preliminary Assessment Report. US Oi
Recovery, LLC, Pasadena, Harris County, Texas. TXRO00051540. April.

U.S. Environmental Protection Agency (EPA), 2011. Hazard Ranking System (HRS) Documentation

Record. US Oil Recovery. Site Spill Identifier No.: A6X7. Cerclis Site ID No. TXN000607093.
September.

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 66 of 102

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EXPLANATION US OIL RECOVERY

 

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LOCATIONS OF HISTORIC
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US OIL RECOVERY
PASADENA, TEXAS
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2 1944 AERIAL PHOTOGRAPH
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Approx. Scale In Feet DATE: APRIL, 2014 CHECKED: MKW

 

 

 

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SOURCE:

Base map from Googie Earth, dated December 1944. CONSULTING ENGINEERS AND SCIENTISTS

 

 

 

 

 
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Base map from Google Earth, dated December 1953.

 

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US OIL. RECOVERY
PASADENA, TEXAS

 

Figure D-1-3

1953 AERIAL PHOTOGRAPH

 

PROJECT: 1863 BY: AJB REVISIONS

 

DATE: APRIL, 2044 CHECKED: MKW

 

 

 

 

PASTOR, BEHLING & WHEELER, LLC
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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 69 of 102

 

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Base map from EDR Report dated August 13, 2012, Pasadena, TX.

 

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US OIL RECOVERY
PASADENA, TEXAS

 

Figure D-4-4

1853 AERIAL PHOTOGRAPH

 

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DATE: APRIL, 2044 CHECKED: MKW

 

 

 

 

PASTOR, SEHLING & WHEELER, LLC
CONSULTING ENGINEERS AND SCIENTISTS

 

 
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Base map

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US OIL RECOVERY
PASADENA, TEXAS
Figure D-1-5
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1862 AERIAL PHOTOGRAPH

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from EDR Report dated August 14, 2012, Pasadena, TX. CONSULTING ENGINEERS AND SCIENTISTS

 

 

 
 

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 71 of 102

 

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Stockpiled Material

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4 Possible Burial of
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Figure D-1-6
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1978 AERIAL PHOTOGRAPH

 

 

 

 

 

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SOURCE: CONSULTING ENGINEERS AND SCIENTISTS

Base map from Google Earth, dated December 1978,

 

 

 

 
 

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 72 of 102

 

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Approx. Scale In Feet

 

 

US OIL RECOVERY
PASADENA, TEXAS

 

Figure D-1-7

1878 AERIAL PHOTOGRAPH

 

PROJECT: 1863 BY: AJD REVISIONS

 

 

 

DATE: APRIL, 2014 CHECKED: MKW

 

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from EDR Resort dated August 13, 2012, Pasadena, TX.

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PASTOR, BEHLING & WHEELER, LLC
CONSULTING ENGINEERS AND SCIENTISTS

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 73 of 102

 

 

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Base map from EDR Report dated August 13, 2042, Pasadena, TX.

 

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US OIL RECOVERY
PASADENA, TEXAS

 

Figure D-1-8

1989 AERIAL PHOTOGRAPH

 

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DATE: APRIL, 2014 CHECKED: MKW

 

 

 

 

PASTOR, BEHLING & WHEELER, LLC
CONSULTING ENGINEERS AND SCIENTISTS

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 74 of 102

 

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US OIL RECOVERY
PASADENA, TEXAS

 

Figure D-1-9

1895 AERIAL PHOTOGRAPH

 

PROJECT, 1863 BY: AID REVISIONS

 

 

 

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Base mep from Googie Earth, dated January 1995.

 

 

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 75 of 102

 

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US OIL RECOVERY

 

 

 

 

 

 

 

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1995 AERIAL PHOTOGRAPH
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SOURCE: PASTOR, BEHLING & WHEELER, LLC
Base map from EDR Report dated August 13, 2012, Pasadena, TX. CONSULTING ENGINEERS AND SCIENTISTS

 

 

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 76 of 102

 

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US OIL RECOVERY

 

 

 

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2002 AERIAL PHOTOGRAPH
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SOURCE:

Base map from Google Earth, dated October 2002. CONSULTING ENGINEERS AND SCIENTISTS

 

 

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 77 of 102

 

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SOURCE: CONSULTING ENGINEERS AND SCIENTISTS

Base map from Googie Earth, dated February 2004.

 

 

 

 

 
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Filed on 07/20/15 in TXSD_ Page 78 of 102

 

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US OIL RECOVERY
PASADENA, TEXAS

 

Figure D-4-13

2005 AERIAL PHOTOGRAPH

 

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DATE: APRIL, 2074 CHECKED: MKW

 

 

 

SOURCE:
Base map from Googie Earth, dated April 2005.

 

 

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 79 of 102

 

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i PASADENA, TEXAS

Figure D-1-14
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2006 AERIAL PHOTOGRAPH

 

AERIAL PHOTO LOCATION PROJECT. 1863 BY: AJB REVISIONS
Approx. Scale In Feet

 

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SOURCE:

Base map from Google Earth, dated January 2006 CONSULTING ENGINEERS AND SCIENTISTS

 

 

 

 

 
 

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 80 of 102

 

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Base map from Google Earth, dated September 2007

 

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 81 of 102

 

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PASADENA, TEXAS

 

 

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Figure D-4-16
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2008 AERIAL PHOTOGRAPH
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SOURCE. CONSULTING ENGINEERS AND SCIENTISTS

Base map fram Google Earth, dated January 2008.

 

 

 

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 82 of 102

 

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Surface Water
Drainage Area

 

 

 

 

 

 

 

 

 

US OIL RECOVERY
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PASTOR, BEHLING & WHEELER, LLC
ane from Google Earth, dated March 2012 CONSULTING ENGINEERS AND SCIENTISTS

 

 

 

 

 
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 83 of 102

APPENDIX C -SITE MAP
REMEDIAL INVESTIGATION AND FEASIBILITY STUDY
U.S. OIL RECOVERY SITE ~ AREA OF INVESTIGATION-1
PASADENA, TX
Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 84 of 102

EXPLANATION US OIL RECOVERY SUPERFUND SITE
PASADENA, HARRIS COUNTY, TEXAS
Approx, Property Boundary ‘

Approx, Security Pence * Appendix ¢

SITE MAP

DATE: FER, 2045,
QUADRANGLE LOCATIONS Approx. Scale in Feet

; = PASTOR, BEHLING & WHEELER, LLC

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 85 of 102

APPENDIX D RECEIVER ORDER
REMEDIAL INVESTIGATION AND FEASIBILITY STUDY
U.S, OIL RECOVERY SITE ~ AREA OF INVESTIGATION- 1
PASADENA, TX
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page | of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 86 of 102

NO. 2009-32636

HARRIS COUNTY, TEXAS
Plaintiff,

and

THE STATE OF TEXAS

Acting by and through the Texas

Commission on Environmental Quality,

A Necessary and Indispensable Party
Party-Plaintiff,

VS.

OOF cer ta Goh Win ton Con CO Wo ton on Won Wan ton

KLAUS GENSSLER, individually, and d/b/a

U.S. OFL RECOVERY, L.P.,

MCC RECYCLING, LLP.

GENSSLER ENVIRONMENTAL

HOLDINGS, L.L.C., U.S, OIL RECOVERY,

LLP, a/k/a U.S. OLL RECOVERY, L.L.P.
Defendants

CN OA Ua GO Ci 6G

ptt
APREY

tor! X
IN THE DISTRICT COURT OF

 

HARRIS COUNTY, TEXAS

FILED

Loren Jackson
Oistrict Clark
JUL +7 2010
Time
By

 

125" JUDICIAL DISTRICT

ORDER FOR APPOINTMENT OF RECEIVER AND MASTER

Be it remembered, that on June 2, 2010, plaintiff, Harris County, Texas, in the above-

captioned and numbered cause, presented to the Court its Application for Appointment of a

Receiver and Master. Coursel for Harris County, the State of Texas, and the defendants were all

present and, this Court, after reading the Application for Appointment of Receiver and Master

and the attachments, hearing testimony on the current conditions of the properties at 200 and 400

North Richey Road in Pasadena, Texas, taking judicial notice of all the pleadings and testimony

and evidence offered by the Court in this and previous hearings in this case, as well as the

arguments of counsel, GRANTS the Application and finds that:

I. Defendants Klaus Genssler, individually, and d/b/a U.S. Oi] Recovery, L.P., MCC

Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil

Recovery, LLP, a/k/a U.S. Oil Recovery, L.L.P., are violating environmental laws
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 2 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 87 of 102

and putting the health and safety of residents of Harris County at risk by storing
hazardous and flammable waste in conditions that have created an imminent fire
and flood hazard at their facilities at 200 and 400 North Richey Road in Pasadena,
Texas;

Defendants Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., and Genssler Environmental Holdings, L.L.C., have violated
this Court’s temporary injunction order signed on March 1], 2010, by failing to
remove the hazardous and flammable waste and all industrial waste and
wastewater from their properties at 200 and 400 North Richey Road;

Defendants Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil
Recovery, LLP, a/k/a U.S. Oi] Recovery, L.L.P., have failed to appear for two
depositions ordered by this Court and have refused to accept service to appear in
court upon court order to show cause in response to plaintiff's Motions for
Contempt;

Defendant Klaus Genssler’s current whereabouts are unknown and he effectively
has abandoned the facilities at 200 and 400 North Richey Road in Pasadena,
Texas;

Defendant Klaus Genssler has indicated in his reports to Harris County and the
State of Texas that he and his companies have no money to clean up the
properties pursuant to the terms of the Temporary Injunction, but is not in

bankruptcy;

bo
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 3 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 88 of 102

10.

Defendant Klaus Genssler, individually, has previously been found to be causing
suffering, allowing or permitting pollution to take place at 200 and 400 North
Richey Road;

Defendant Klaus Genssler, individually, has taken in approximately
$10,000,000.00 per year from the defendant businesses for the past 3-4 years, and
has not reinvested this money into these companies. As a result, the physical
plants at defendants’ 200 and 400 North Richey Road facilities have fallen into
disrepair to such a degree that they now pose a serious threat to the safety of the
residents and the environment in Harris County, Texas;

Defendants Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil
Recovery, LLP, a/k/a U.S. Oil Recovery, L.L.P., since the receivership was filed,
have caused or have allowed or permitted others to remove valuable industrial
equipment from their possession from 200 North Richey Road and 400 North
Richey Road in Pasadena, Texas to places unknown;

A receivership is necessary because there is no other adequate remedy at law as
defendants have failed to comply with two temporary injunctions, and have failed
to appear in court when ordered to do so. In addition, there is an imminent threat
to the residents of Harris County because defendants’ facilities have limited fire
protection and are illegally storing hazardous and other industrial waste, as well
as flammable waste, on property that is partially in the floodplain and floodway;
If any portion of the Receiver’s compensation under this order exceeds the

defendants’ assets which are under receivership, Harris County agrees to
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 4 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 89 of 102

Il.

compensate the Receiver up to ten thousand dollars ($10,000) for these services
under this order. These funds are already authorized by Harris County
Commissioners Court. Any additional amount this Court determines Harris
County is to pay the Receiver is subject to approval by Commissioners Court.
The Receiver will be compensated at three hundred fifty dollars ($350) per hour,
subject to approval by Commissioners Court. Harris County is ordered to place
ten thousand dollars ($10,000) in the Court’s registry as a deposit against the
Receiver’s fees.

Special circumstances exist that justify the appointment of a Special Master,
including the defendants’ failure to appear for hearings or provide documentation.
Counsel advised that Mr. Genssler cannot be located, but is reported to be out of
state, in Alabama or in Germany, and to have various business deals underway
involving companies with which he is involved, but, he will not disclose his
interests in those businesses. The Court cannot iravel the state, or to Alabama or
Germany, to discover the defendants’ relationships with each other and third
parties, or where assets are located, but a Master can do so, and then report to the
Court. Attempts to discover such information have been futile since Mr. Genssler
refuses to appear and has retained multiple lawyers to protest every effort to
obtain information. The Master’s duties are limited to discovering the
defendants’ whereabouts, assets, and records, including their relationships with

each other and third parties, and potential sources of income.

This Court takes into consideration the following documents: the plaintiffs Ninth

Amended Petition; the March 11, 2010 Temporary Injunction, hearing evidence, and testimony;
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page § of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 90 of 102

and the June 8, 2008 Temporary Injunction, hearmg evidence, and testimony; the Show Cause
Order signed by this Court; the three Temporary Restraining Orders, al] the evidence, testimony,
and sworn pleadings in this case.
This Court, based on the overwhelming evidence presented in this case a ee to
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Ick Town Sen
Chapter 64 of the Texas Civil Practice and Remedies Code, appoints Rieeke~Baumene as

CWB Yi. - I Thete
Receiver in this case, Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery, LLP, a/k/a
U.S. Oil Recovery, L.L.P., and ORDERS:
(1) Defendants, Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery, LLP, a/k/a
U.S. Oil Recovery, L.L.P., place all documents and property subject to this order in the custody
and control of the Receiver, within five days of the execution of this order;
(2) That the defendants Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P.,
MCC Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery, LLP,
a/k/a U.S. Oil Recovery, L.L.P., are enjoined from further entry onto the properties at 200 North
Richey Road and 400 North Richey Road, without further order of this Court. The Receiver has
full access to both 200 and 400 North Richey Road, and has full authority to grant others access
to those properties:
(3) That all real or personal property possessory claims or any interest in real property,
easements, and rights used by the defendants Klaus Genssler, individually, and d/b/a U.S. Oil

Recovery, L.P., MCC Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil

Recovery, LLP, a/k/a U.S. Oil Recovery, L.L.P., at their facilities at 200 and 400 North Richey
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 6 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 91 of 102

Road sites, including all trucks, processors, tanks, and other equipment, whether held by the
defendants, their assigns, or contractors, is placed under custody and contro! of the Receiver:

(4) That ail non-exempt real and personal property of Klaus Genssler within the jurisdiction
of this Court are placed under the custody and control of the Receiver;

(5) That defendants, Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC
Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery, LLP, a/k/a
U.S. Oil Recovery, L.L.P., are enjoined from encumbering or transferring property to anyone but
the Receiver, and that the defendants are enjoined from concealing property at the 200 and 400
North Richey Road sites including all trucks, processors, tanks, and other equipment, including
through the use of third parties, companies, agents, attomeys, pseudonyms, or assumed names;

(6) That the Receiver may retain counsel, as needed, as well as realtors and all other sale

agents needed to sell property and rights. ‘Reentotention_of the-firm of Miller, Scamardian

 

(7) The Receiver is authorized to hire all persons and entities necessary to assess the qualities
of the items owned or possessed by defendants, and to sell or move them, as needed;

(8) That the Receiver is authorized to use any means allowed under the statute to bring the
defendants’ facilities at 200 North Richey Road and 400 North Richey Road in Pasadena, Texas
permanently into compliance with environmental laws, including: a) seizing all assets in
possession or control of defendants, Klaus Genssler, individually, and d/b/a U.S. Oil Recovery,
L.P., MCC Recycling, L.L.P., Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery,
LLP a/k/a US. Oil Recovery, L.L.P., including any entities controlled or managed by Klaus
Genssler, or monies received for the benefit of Klaus Genssler; and, b) using the assets obtained

to pay the Receiver’s fees, and to hire an environmental remediation company to:
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 ~ Page 7 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 92 of 102

(9)

1) test and classify the waste in the drums and totes in the warehouse at 400 North
Richey Road and determine where to properly dispose of the waste, to remove all leaking
drums and totes and other containers and all hazardous waste contained in drums, totes
and other containers as soon as possible to a Texas Commission on Environmental
Quality approved facility, and take all other action necessary to secure these containers in
such a manner as to protect the public;

2) test and classify the waste in the roll-off containers at 400 North Richey Road and
determine where to properly dispose of the waste, and dispose of it at a Texas
Commission on Environmental Quality approved facility;

3) test and classify the waste in the bioreactors at 400 North Richey Road and
identify where to properly dispose of the waste, and dispose of the waste at a Texas
Commission on Environmental Quality approved facility;

4) test and classify the waste that is presently held in vessels, pipes, and containers at
200 North Richey Road, and determine where to properly dispose of the waste, and then
dispose of the waste at a Texas Commission on Environmental Quality approved facility;
and

5) test and classify the waste in the tanks in the tank farm at 400 North Richey Road,
and determine where to properly dispose of the waste, and then dispose of the contents at
a Texas Commission on Environmental Quality approved facility.

The Receiver may schedule hearings and meetings and direct parties and witnesses to

give testimony at such hearings and meetings and to rule upon the admissibility of evidence at

such hearings. He may place witnesses under oath;

(10)

The Receiver’s agents share his powers and immunity;
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 8 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 93 of 102

(1) An order from the Receiver, made pursuant to this order, is a court order;

(12) Every security officer, constable, deputy constable, sheriff, deputy sheriff, and every
other peace officer with notice of this order is authorized to accompany the Receiver to any
location designated by the Receiver where Receiver believes assets or documents of a defendant
may be located, without the necessity of a writ of execution having been issued, and is ordered to
prevent any person from interfering with the Receiver (or any person under the direction of the
Receiver) from carrying out any duty under this order or interfering with any property in control
of the Receiver, or any property subject to this order;

(13) The clerk is ordered to issue all appropriate writs;

(14) The Receiver is required to post a one hundred dollar ($100) bond. Harris County is
required to post a one hundred dollar ($100) bond,

(15) No interference. Every person with notice of this order is ordered to assist the Receiver
and not to interfere with any property in the Receiver’s control or subject to this order, and is
ordered to assist and not to interfere with the Receiver in the carrying out of his duties;

(16) All third parties are ordered to immediately notify the Receiver if they discover the
existence of property, or of facts which might lead to the discovery of property in which any
defendant has any interest;

(17) Notice to third parties. The Receiver, to the exclusion of every defendant, is the only
party entitled to possess, sell, liquidate, and otherwise deal with every defendants’ non-exempt
property. Once third parties receive notice of this order, they may be subject to liability if they
release property to any defendant, without the Receiver’s prior written consent:

(18) The Receiver is authorized to re-direct and read the defendants’ mail;
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 9 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 94 of 102

(19) Changes in addresses and contact information. Every defendant is ordered to

immediately notify the Receiver, in writing, of all present addresses (home, work, deer lease,
fishing camp, etc.), telephone numbers (at every address), cell phone numbers, pagers, fax
numbers), e-mail addresses, and to immediately notify the Receiver, in writing, of all changes in
the information;

(20) Duties if anyone resists the Receiver’s orders, based on the advice of third parties, Any
witness or person resisting an order or request of the Receiver, based on legal or other advice, is
ordered to give the full name, address, fax number, e-mail address, cell phone number, and direct
telephone number for each person giving that advice and to instruct each person to immediately
contact the Receiver;

(21) No defendant may spend non-exempt funds without the Receiver’s prior written
pemuission;

(22) The Receiver has no duty to maintain, guard, or ensure property taken into custodia legis,
or to maintain or pay any lease, nor shall Receiver be required to pay any mortgage, lien or
assessment, defend against any lawsuit, pay any tax or fee, maintain any insurance coverage or
have any obligation except as specifically ordered;

(23) The Receiver may certify copies;

(24) The Receiver may require answers to questions, or additional turnover and production, in
shorter time periods than set by the Texas Rules of Civil Procedure:

(25) The Receiver may collect all unclaimed funds;

(26) The Receiver may collect, sell, or assign the defendants’ rights to all air miles and

rewards programs;
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 10 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 95 of 102

(27) The Receiver may require tax assessors and the Texas Department of Transportation to
freeze titles, or re-title vehicles in the Receiver’s name, as Receiver;

(28) All third parties who hold the property of the defendants, Klaus Genssler, individually,
and d/b/a U.S. Oil Recovery, L.P., MCC Recycling, L.L.P., Genssler Environmental Holdings,
L.L.C., and U.S. Oil Recovery, LLP, a/k/a U.S. Oil Recovery, L.L.P., are ordered to immediately
notify the Receiver, and to deliver the property within five working days of demand from the
Receiver;

(29) Notice to third parties. The Receiver, to the exclusion of every defendant, is the only
party entitled to possess, sell, liquidate, and otherwise deal with every defendants’ non-exempt
property. Once third parties receive notice of this order, they may be subject to liability if they
telease property to any defendant, without the Receiver’s prior written consent:

(30) Receiver may order providers of utilities, telecommunications, telephone, cell phone,
cable, internet, data services, internet website hosts, satellite television services, and all similar
services, (including Time Warner, AT&T, Verizon, Sprint, Satellite TV, Direct TV, Google,
Yahoo, and internet blogs and chat rooms) and financial institutions compelling the turnover of
any information that the Receiver believes might prove or lead to the discovery of the existence
and location of a defendant’s whereabouts or assets, including account information, telephone
numbers, names, service addresses, telephone numbers, IP addresses, call detail records,
payment records, and bank and credit card information. Such orders shall be directed to the
entity from which the information is sought and describe, as specifically as possible, the precise
information requested with the dates for which the information is required, which shall not be
more than one year before the issuance of the Receiver’s request, unless specifically stated in the

request or attached letters;

10
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 11 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 96 of 102

(31) This Order specifically serves as the court order required by 47 USC § 551, and satisfies
all obligations of the responding party to obtain or receive a court order prior to disclosing
material containing personally identifiable information of the subscriber and/or customer. The
disclosure of information pursuant to this Order is not a violation of PUC Substantive Rule
25.272. This Order satisfies the law, regulation, or legal process exception to the Proprietary
Customer Information Safeguards found in PUC Substantive Rule 25.272 (g)(1).

(32) The Receiver may order any Consumer Reporting Agency, as defined by the Fair Credit
Reporting Act (“FCRA”) section 15 USC § 1681b(f), to provide consumer reports on defendants,
as allowed under FCRA §1681b(a)(1);

(33) The Receiver may order providers of global positioning satellite (GPS) and tracking
information, to provide information that might assist the Receiver in locating a defendant or
defendant’s assets.

(34) The Receiver has full power and authority to take possession of all non-exempt property
of Klaus Genssler, individualiy, and d/b/a U.S. Oil Recovery, L.P., MCC Recycling, L.LP.,
Genssler Environmental Holdings, L.L.C. and U.S, Oil Recovery, LLP, a/k/a U.S. Oil Recovery,
L.L.P. that is in any other defendant’s actual or constructive possession or control:

(35) Klaus Genssler, individually, and d/b/a U.S. Oil Recovery, L.P., MCC Recycling, L.L.P.,
Genssler Environmental Holdings, L.L.C., and U.S. Oil Recovery, LLP a/k/a U.S. Oil Recovery,
L.L.P. are ordered to deliver to the Receiver all non-exempt cash, interest on deposits, and stock
dividends, within five days of notice of their existence;

(36) This order is limited to non-exempt assets, even if it seems to state otherwise. Any
defendant claiming any exemption is ordered to notify the Receiver of the exemption,

immediately. The Receiver shall assume that property is not exempt, until the person claiming

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For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 12 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 97 of 102

the exemption states the exemption claimed, the legal and factual grounds for the exemption, and
describes the property with enough specificity that a constable can levy, based on the
description.

(37) Duties to disclose and supplement. Klaus Genssler, individually, and d/b/a U.S. Oil
Recovery, L.P., MCC Recycling, L.L.P., Genssler Environmental Holdings, L.L.C. and U.S. Oil
Recovery, LLP a/k/a U.S. Oil Recovery, L.L.P. are ordered to fully disclose to the Receiver all
of defendant’s assets and to neither directly nor indirectly interfere or impede the Receiver in the
performance of his duties under this Order. Exempt and non-exempt assets must be disclosed, so
that the exempt status of the property can be determined. Every defendant is ordered to
supplement all disclosures, in writing, within five days of knowledge of information required

disclosed by this Order.

_ (38) The attached list is illustrative, and the Receiver’s powers are to be liberally construed,

including:

(i) Production and tumover. Ordering, from all defendants and third parties, the turnover
of assets, evidence and documents upon all matters he feels pertain to compliance with this
Order, including every defendant’s assets, unopened mail, the location of assets, values of assets
and all other financial matters pertaining to any defendant, including the amount of money that
any defendant may need on a periodic basis to continue the defendant’s business or to provide
for the necessities of life;

(ii) Examinations and testimony. Scheduling hearings and meetings and directing parties
and witnesses to give testimony at such hearings and meetings and to rule upon the admissibility

of evidence at such hearings;

12
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 13 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD_ Page 98 of 102

(ii) Administering oaths. Placing witnesses under oath and examining them himself, or
through his agents;
Gy) Compliance. Seeking compliance with this order by every defendant by filing a

motion for contempt and serving the person accused of contempt with notice to appear before
this Court and show cause why that person should not be sanctioned for contempt;

(39) Disputes. If there be any dispute whether an asset is non-exempt property of a defendant,
the Receiver is authorized to take custody of the asset until the Court can determine the rights of
those claiming interests in the asset;

(40) Access to assets. The Receiver is authorized to take all action necessary to gain access to
real property, leased premises, storage facilities, mail, and safety deposit boxes, in which real or

personal property of any defendant may be situated, whether owned by a defendant or not.

(41) This Court, based on the overwhelming evidence presented in this case, appoin

Shuean Sew hn as Master in this case under Rule 171, Texas Rules of Civil Procedure. The

Court notes these special circumstances, arnong others:

a. This case revolves around toxic waste, including toxic spills that are prompted or
exacerbated by bad weather. A Master can immediately photograph and make the
Court aware of the situation, whereas holding even an emergency hearing requires
hours to draft and file pleadings, then notify all parties;

b. The Master can independently chronicle spills and illegal entry, whereas a sitting
Court cannot drop what it is doing to drive to the site and inspect;

c. The Master can travel, including to Alabama and other locations, to interview and

examine those who are, or might be, doing business with defendants; and

13
For Official Governmental Use Only - Do Not Disseminate to the Public: 45846746 - Page 14 of 14

Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 99 of 102

d. The Master can conduct “on the spot” examinations/interviews of transient
witnesses, like truck drivers who are removing defendants’ property or waste. A
driver who lives out of state, or more than 150 miles away would be out of the
Court’s jurisdiction before a party could draft and serve a subpoena to appear for
deposition — days later — taking the property, truck, or waste with him. Many of
these witnesses would have knowledge of only small parts of the puzzle, and a
quick Master’s interview would suffice to obtain all that the witness knows. This
testimony would be lost without the intercession of a Master.

(42) The Master’s duties are limited to determining the ownership of assets, the
interrelationships of the various entities, and the causes of any toxic situations at 200 or 400
North Richey Road, Pasadena, Texas.

Taxation of costs awaifs-the entry of the final order in this case.

1%
SIGNED ON July/, 2010,

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THE HONORABLE KYLE CARTER
Approved: .
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/ Laura Fiorentino Cahili

Deputy Division Chief, Environmental Division
Harris County Attorney Vince Ryan’s Office

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Case 4:14-cv-02441 Document 1430

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i, Loren Jackson, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date

Witness my official hand and seal of office
this fuly 19, 2010

Certified Document Number; 49846746 Total Pages: 14

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LOREN JACKSON, DISTRICT CLERK
HARRIS COUNTY, TEXAS

Filed on 07/20/15 in TXSD_ Page 100 of 102

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 101 of 102

CAUSE NO. 2009-32636-P) N ? fp

Safety~Kleen Systems, inc., Oxid, L.P., IN THE DISTRICT COURT OF
Southwest Shipyard, L.P., Enterprise
Products Operating, LLC, Enterprise
Transportation Company, Vopak
Terminal Galena Park, Groendyke
Transport, Inc., T.T. Barge Cleaning,

Inc.

HARRIS COUNTY, TEXAS

Plaintiffs,
v.

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U.S. OIL RECOVERY, L.P., KLAUS
GENSSLER, MCC RECYCLING,
L.L.P., 0.8. OIL RECOVERY, L.L.P.,
SCALTECH INTERNATIONAL LLC
AND MCC GROUP ,N.V.
Defendants.

 

Onthe  dayof

 

ORDERED that:

igved of his duties as Receiver effective as of March 19, 2012.
Eve En él het
The Receivership Order is hereby reinstated in this severed case and Miles Deport ig x

hereby appointed as the successor Receiver. Other terms of the Receivership Order remain in

Rick Townsend was reli

 

 

| ) ‘the receivership will no longer be over Klaus Genssler, individually, or
Genssler Environmental Holdings, L.L.C., which is in bankruptcy, and (2) Intervenors will be
responsible for the successor Receiver’s fees and expenses going forward to the extent those fees
and expenses cannot be paid by using assets of the Receivership estate and plaintiffs bond shall
be released and Intervenors shall post a bond equal to the bond presently posed by Harris County

and the State of Texas in the amount of $100.

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Case 4:14-cv-02441 Document 1430 Filed on 07/20/15 in TXSD Page 102 of 102

The purpose of the Receivership is to assist the plaintiffs in connection with the cost
effective remediation of the sites in accord with plaintiffs’ obligations under the currently

existing AOC or subsequent orders of the EPA.

Signed this / tC day of } Ho , 20L,

 

 

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